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                 Exhibit 9
                   Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58  f/1..(J.J/!�·r
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                                             CONFIDENTIAC


                                                  NEW REAGENT SYSTEMS -


                                                     PLANT TRIAL AT


                                                  WINDSOR MINERALS INC.

                                                                                                                         '   .




                                         G.




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                INTRODUCTION:

                     Windsor Minerals has been actively engaged in a ftoth floatation
                research program for the past year and a half.  This program has de­
                veloped two floatation reagent systems which offer substantial ad­
                vantages to the Windsor floatation process from an economic, purity
               ·and potential health hazard point of view.

                 .    In the absence of known deleterious effects attributable to
                 these reagent systems and in response to the favorable results in test­
                 ing performed by Baby Products Research in New Brunswick, Windsor
                 Minerals scheduled a plant t�ial as a guide for establishment of the
                 product and process parameters under actual operating conditions.

                         The plant trial was conducted on January 29, 197 4 . During this
                 tri�l cosmetic grade tales were produced using both new reagent systems,
                 i. e . , n-butyl alcohol and n-bytyl alcohol-citric acid in combination.

                     The following report will d�al with the product and process para­
                meters of the trial as determined by Windsor Minerals and outside con­
                sultants .

                 CONCLUSIONS

                  1.    A reduction in total acid soluble materials was attributable to
                        the new reagent systems . The magnitude of the reduction was
                        23%· for n-butanol and 28% for n-butanol-citric acid .

                 2.     A similar decrease in "magnesite' levels was effected.  The
                        decrease was 23% using n-butanol and 30% for the n-butanol-citric
                        acid combination .

                 3.     A color (reflectance) increase of· 1 . 0 units was effected while
                        using n-butanol; an increase of 1 . 4 units was attributed to the
                I       n-butanol-citric acid system .
                     ' ".)
               ,...,


      ,, '!�     4 . ·o    Chrysotile fiber supression was indicated while_using the
                           n-butanol-citric acid system .

                 5.     Talc recoveries were higher while using the'new reagent systems .
                        The increases were 17% for n- butanol and 19% for n-butanol-citric
                        acid.

                 6.     .rhe chlorite content of the floated product was reduced 14%
                         �hile using n-butanol and 15% while using n-butanol-citric acid .
                        .
                                            .
                 7.      A substantial dec�ease in the bulk density of the product was
                       · noted while using the new �eagent systems . The decreases were
                         2 . 06. lb/ft3 and 2 . 82 lb/ftj respectively for the n-butanol . and
                         n-butanol-citric acid systems, corresponding to decreases on a
                         percentage basis of 8 . 4% and 13.0%.


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                 8.       The platy nature of the tale product was found to be unchanged
                          by the use of the.new reagent systems.

                 9.       The pH of n-butanol-ei tric acid floated tale was significantly
                          c l oser to neutra l ity than current p roduc tion. The d ecrease in
                          al kalinity was measured to be 1.25 pH units for material made
                          during the p lant trial .
     ("'"'<;>.

     ·)1 10 .             Part icle size distribution profil e s were similar for materials
                          floated with Ul trawet D.S . , n-butanol, and n-butanol -eitrie acid.

                 11.       Optical microscopy ind icates a high degree of similarity with
                         · relat ion to the size and shap e fac tors of mat�rial s produc ed
                           during the plant trial .



                     I                                                                                     I
                          Minor differences were noted with respect to talc shards and
                          roll e d edges. The product differences,.however, correspond
                          qu1te closely with differences found in the ores from which the
                          products were beneficiated,

                 OPERATIONAL DES CRIPTI ON

                      At 4:30 AM on January 29, 1974, immediately prior to the plant
                 trial using the n-butanol based reagent systems, 1000 pounds of U l ­
                 trawet D.S . floated talc was col l ected and packaged in 4 fiber drums.
                 At the same time a representative ore sample was c o l l ected, These
                 materials were used as a reference for the plant trial products.

                   .  The floatation circuit was then purged for 3 hours to remove
                 the residual Ultrawet, after which n-butyl alcohol was added at a
                 rate of 1 . 08 l i ters per ton of floatation feed .

                       Samp l ing was begun after 30 .minutes and continued on a 30 minute
                 basis thereafter.     The samples were immediately analyzed by the
                 W indsor Minerals Q.A. Laboratory.

                      After estab l i shing that equilibrium cond itions had been reached
                 in the floatation circui try a 1000 pound sample of finished product
                 was taken and stored in fiber drums for further stud ies,
                                                                                                                       O
                                                                                                               J. Oj
                       Following collec tion of the n-butanol floated produc t, citric �O·
                 acid was added to the circuit at a rate of 4 pounds of citric acid
                 per ton of floatation feed, whi l e maintaining the n-butanol add itions
                 as before. When the circuit was j udged to have reached equil ibrium
                 conditions based upon the analytical results, another 1000 pound
                 sampl e
                       , · of finished product was taken and stored in fiber drums , also
                 for fu ture studies.




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              SAMPLING

                   Production sampiing for quality assurance purposes was begun
              at 9:30 AM on 1/29/74 and continued at half hour intervals for the
              duration of the plant trial. The following table lists the materials
              sampled and the analyses·perfo�ed during the trial.

                                       Table 1     �alitx Assurance Analxtical Schedule
                                                         % Acid Color        -325
              Material                            Sample Insolu- Reflec- pH Mesh    Bu}.k   % Mag-
              Sampled                              Qtx.   bles    tance      Screen Density  nesite

              Ore                                 500g     X          X           X

              Tailings                            250cc    X

              Cleaner Concentrate 500cc                    X          X   X

              Product                             500g     X          X   X       X     X         X


                   Composite ore and tailings sampies were collected 30 minutes pri.or
              to and during each product collection. A product composite for each
              reagent system used was also obtained from the material packaged in
              fiber drums.

                 The composites were then used for the development of analytical
          . data for comparative purposes in assessing the effects of the reagent
            systems upon the process and resulting products.

              EXPERIMENTAL & RESULTS

                   Table 2 displays a compilation of Quality Assurance data obtained
              during the test run . The results were used for circuit control, es-·
              tablishment of operational parameters, and talc recovery calculations.

                   Product composite samples representing materials made with Ultra­
              wet D . S . , n-butanol and n-butanol-citric acid were analyzed in accord­
              ance with our standard certification procedures. These results,
              in the form of a standard laboratory report are given in Tables 3,
              4 and 5.      The data in these table$ confirms that the new reagent
              systems provide substantially improved products in the following
              categories:.

                         �.       total acid solubles
                         r
                         I



                     .   '2   .   magnesite

                         3.       color

                         4.       bulk density

                         5.       pH


                                                               - 3-


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                     There were no specification categories in which a decrease in product
                     qualities were observed .

                          Table 6 "provides the trial results in terms of talc recovery.

                           Talc recovery was calculated using the relationship:

                          % Recovery = 100            �   C-T
                                                                x C
                                                                 H
                                                                                           /




                     where:

                          H = % acid insoluble content of ore

                           T = % acid insoluble content of tailings

                          c = % acid insoluble content of cleaner concentrate
                          Recoveries were derived by obtaining mean acid insoluble values
                     for ore, tailings, and cleaner concentrates (rom Table 2 for the
                     time period during which the sp ecified reagent was used.    These
                     values were compared to the 8 hour production shift immediately pre­
                     ceding the reagent trial during which time Ultrawet D . S . was the·
                     floatation reagent. It is apparent from Table 6 that a substantially
                     higher recovery is afforded by the use of n-butanol based floatation
                     systems.

                          Particle size measurements were performed by two methods; sedi­
                     mentation velocity �sing the Andreasen Sedimentation Pipette and by
                     actual optical measurement using the �C Image Analyzing system.
                     The results are given in Tables 7 - 12 ana graphically d1splayed in
                     Figures 1-9.

          ,�     The particle size distribution profiles indicate the similarity
             ,
            of the products within the framework of the technique used for measure­
            ment. However, we have noted and confirmed that differences between
I.          the techniques and the values obtained via the techniques do exist.
            It has been our experience that the direct measurement of particle
            size and shape which is possible with the Image Analyzing method is
         / a superior determination to the indirect measurements made by the
       0 � sedimentation method.
                          On this basis, potential benefit is indicated in that the optical
                     measuring technique has veri ed a lower fine article content report-
                     ing in the finished pro uct when usin    he a co o     e s    e s
                     �cfcularly the n-butanol-c �tric acid system . This fact ha� been
                     confirmed by Walter C. McCrone Associates who have reported the same
                     conclusions based on their optical studies .

                          Mineralogical examinations for detection of amphiboles were
                     performed by Dr. R. Reynolds at Dartmouth College on the composite
                     ore and product samples. The results for the Ultrawet D.S., n-butanol
                     and n-butanol-citric acid floated products are given in Table 13:·.and       .


                     Attachment C, titled " Mineralogy of Ores,
                                                           '    Product and Mill Tails Re
                     Different Floatation Reagents".

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                      There were no significant differences with respect to the amphi­
                 bole content in the test products. The detected amphibole minerals
                 did not appear in a fibrous f�rm in any of the product samples.

                  Mineralogical analyses using X-ray diffraction techniques were
             performed on the composite ore, tailings and talc products during
             each segment of the reagent trial periods . . This work was performed
             by Dr . Reynolds; the results are given in Table 14 and Figure 10�

                      The                                ical content of the three ore sam les were
                 essentia

                     Analysis of the finished products by X-ray techniques indicate
                     �
                 a S §�a�tial repuction in chlorit;e cont;,�nt. attributable to the alcohol
                                                               ,
                 base sysl:ems.                                ·




                      Analysis of the tailings resulting from the use of the three
                 different reagent systems by X-ray diffraction identifies a profound
                 difference in the mineralogical composition . As . shown in Figure 10,
                 talc peaks in the alcohol based system tails are roughly one tenth
                 the intensity as found in the Ultrawet system tails . Optical micro­
                 scopic examination· of the tailing fractions £.rom the alcohol based
                 systems also indicates that the small quantity of talc present is
                 essentially all a blocky or non-platy variety.    These results confirm
                 the substantial talc recovery differences between the Ultrawet and
                 n-butanol based systems which had been independently determined by
                 chemical analyses .

                      Asbestifonn analyses were performed by Walter C. McCrone
                 Associates by means of transmission electron microscopy and electron
                 diffraction techniques. Their report is found in attachment "A".
                 An abstract of their findings is given in Table 15.    Quantitative
                 treatment of these results is questionable due to the extremely low
                 chrysotile levels present, however depression of chrysotile through
                 the use of citric acid in combination with n-butanol is indicated.                        .·




                 To better quantify the depressive affects of citric acid upon $ag­
                 nesium ·surfaced asbest iforms, Attachment "B" titled "Asbestifo·rm de­
                 pression through the use of new floatation reagent systems" is
                 included to provide details of an earlier stud � in this area.

                 SUMMARY & REMARKS

                         The results of the plant trials using n-butanol and n-butanol­
                 citric.acid reagent systems a� compared· to the presently used Ultrawet
                 D . S . system has indicated a marked superiority of these new systems.

                      The use of citric acid in the d�pression of chrysotile asbestos
                 and other mineral species has been developed at Windsor Minerals in
                 response to the potential need for a means to exclude extremely low
                                                                                                        } ��'-\1-.'.   <..
                                                                                                                         0




                 levels of these contaminants from the finished product of the bene-
                 ficiation process.
                                                                                     ·

                                                     ·



                                                        .:
                                                                   �    '·'
                      The use of' these systems· is :: � rongly urged by �his wr i t � . · to
                 provide the protection against what�are curfently considered to be
                                                                                              �

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        materials presenting a severe health hazard and are potentially present
        in all talc ores in use at this time.

              In closing, based on Windsor's knowledge of the physical chemistry
         of talc, and upon the results of all work performed to date, it is our


                                                      � �
         strong belief that the use of these new reagent systems will not
         alter the salient consumer properties of the raw material supply or
         the finished baby powder sold un     he Joh       d Johnson name.
                                                                    .



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                                                      Ve       i
                                                      Manager, Researsh and Development
                                                      Windsor Minerals Inc.
                                                      5/14/74




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                   Table 2
                                                  •                                   •
I    ''
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                              OUALITY ASSURANCE SAMPLING TEST RESULTS



     TII'IIE               SAI'IIP L(               ACID         COLOR       pH            -325 m .             BUI,.K          tii AGNESil
                           DESIGNATION            INSOLUBLES   REfLECTANCE                 SCREEN           DENSITY                    (%)
                                                    (%)            (% )                      (%)            (lb./ft;,
          9:30              ORE                    58.98        73.4                      90.93


                             TAILINGS             28.32


                             CLEANER              99.05         88.o         7.57
                             aJNCENTRATE


                            PRODUCT               99.08         87.2         8.06 .       89.07                 24.61               .54


          10:00             ORE         ..        62.15         73.8
                                                                                          90.40

                            TAILINGS              25.84

     .
                            CLEANER               98.94         87.3         7. 78
                            CONCENTRATE


                            PRODUCT               99.18 .       8 7. 4       7.92         90.47        .                           .54
                                                                                                            23.93


         10:30 .            ORE                   64.80         74.6                      90.05


                            TAILINCS              24.95


                            CLEANER               98.94         87.1         7.79
                                                                                                                       f

                            CONCENTRATE


                            PRODUCT.              98.83         87.3         7.92         89.70             23.20                   .sa

                            ORE                   61.62         74.8                      90.09
         11:00
                      .
                            TAILINGS              26.26


I                           CLEANER               98.80         87.3         7.81
I

                            CONCENTRATE


                            PRODUCT               98.85         87.0         (.99         89.93             23.34                  .64


         11:30              ORE                   65.79         74.8                      89.86


                      (-
                            TAILINGS              26.40
                     ,.
                            CLEANER               98.76         87.2         8•42
                            CONCENTRATE
                                -
                                                               . 87.4        8.44         89.45             23.04                      71
                            P_RODUCT              98.86                                                                            •




         12:00              ORE                   65.02         74.4                      90.38


                            TAILINCS              28.86                                                           ·.




                                                  98. • 97      87.3         8.19                          ..
                            CLEANER
                            CONCENTRATE


                            PRODUCT               98.75         87.2         8.10         90.47             22.63                  •   71
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                                                                                                   Prudencio Pltfs' Ex. 061 0 pg 8
                                  'Table
                                     Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58
                                         2 Continued
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                II

                                                                                              ••
                      <
                 I                              Exhibit Exhibits 9-11 to Satterley Declaration Page 10 of 98
                 I
                I
                I




                '
                :
                I
                     TilliE                SAmPLE          ACID           COLOR        pH          -325 m                  BUI,.K        mAGNESITE
                                           DESIGNATION.   INSOLUBLES    REFLECTANCE                SCREEN              DENSITY                   (%)
                                                            (%)             (%)                      (%)               (lb./ft�
            I
            '
                      ·12: JO               ORE            66.26          74.0                      69.15
            !
            '
            I
                                            TAILINGS       24.13
            I
            :
                                            CLEANER        98.54          66.3 .      8.19
            '                               CONCENTRATE

            i
                                            PRODUCT        98.60          86.7        a. 10        88.92                   23.32            .64

            :
            I
                          13:00             ORE            6:5.67         75.0                     90.10
        '

        !
        :
                                            TAILINGS       28.82
        I


        '                                   CLEANER        98.49          86.4        7.89
        '                                   CONCENTRATE
        i
        I
                                            PRODUCT        98.40·         86.4        7.81         90.84
                                                                                                               .
                                                                                                                           22.�0            •    71
        !
        I                 13:30 .           ORE            64.27          75.3                     90.01


                                            TAILINGS       23.   :57·
                                            CLEANER        98.56          86.9        6.38
                                            CONCENTRATE
    I
                              .             PRODUCT        98.47          87.2        7.42         91.22                   21. JO           •    71

                          14:00             ORE            61.17          75,3                     90.66
    I                                  .
    i
                                            TAILINGS       26.05
    '


    Ol                                                     98.78          87.3
                                            CLEANER                                   5.28
                                            CONCENTRATE


                                            PRODUCT        98.67          87.3        7.01         91.29                   21;.11           .59

                          14:JU             ORE           �f.�b           75.3
                                                                                                   69,92

                                            TAILINGS       24.27
                                       r
                                      ,.

'
                                           CLEANER        _98.67          87.1        4 64
                                                                                       •.

'
i
                                           CONCENTRATE
i                                             -

                                           PRODUCT         98.52          87.2        7.22         90.01                   21.41           . •   61
'
I




                          15:00            ORE            61.42           75.2
                                                                                                   89.62

                                            TAILINGS      23.69

                                                                                                                   .   .
                                           CLEANER        98.69           87.5
                                                                                      4.38
                                           CONCENTRAT E
I
:
                                           oRnnru:T       98.54          87.2         7.10         91.59                   21.37            .57
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                                                          •
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                      Table 2 CoExhibit
                                 c t1 nued
                                                                                               •
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                                             .



                                                                                           •




                                                                                                   ..
                                                                 ..



     TilliE.                    SAIIIPLE                  ACID          COLOR       pH             -325 m            BUI,.K          IIIAGNESil
                                DESIGNATION              INSOLUBLES   RErLECTANCE                  SCREEN           DENSITY              (%)
                                                           (%)            (%)                           (%)         (lb./ft�
      15:30                      ORE                       62.63        75.2                       ·89.75

                                 TAILINGS                  22. 38.

                                 CLEANER                   98.86        87.9        4.38
                                 CONCENTRATE


                                 PRODUCT                   98.66        87.5        6.92            90.37             21.56              .53
                       .
                       .
                                · ORE

                                 TAILINGS


                                 CLEANER
                                 CONCENTRATE.


                                 PRODUCT
                                                                                                                ;

                                 ORE

                                 TAILINGS


                                 CLEANER
                                 CONCENTRATE
                                   . .


                                 PRODUCT


                                 ORE
                            .

 I                               TAILINGS
 I
 I                               CLEANER
                                 CONCENTRATE


                                 PRODUCT
                                                 :
                                 ORE
                           ·•



                           r     TAILINGS
                      ,.


                                 CLEANER
                                 CONCENTRATE
                                   .     -

                                 PRODUCT


                                 OR(


                                 TAILINGS


                                 CLEANER
                                 CONCENTRATE         ·




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                  '   Table J
                                                          •                                 •
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                                                          L A B 0 R A T 0 .R Y    R ( P 0 R T

                                                                                       Date Produced    1/ 29/74
                                 Product or Crede              __ ....
                                                                  "6.u.6     I"
                                                                       .. .c...
                                                                            i....
                                                                                ....a ____________....___
                                                                                                       _ _                    _




                                 Sample No. or Description Ultrawet D.S. floated product




                                 l.lli                                  riNDINGS                       SPECifiED
                                 MOISTURE                                        ;02                   N.IYI.T. 0.15%
                                 TOTAL ACID SOLUBLE                          1;72                      N.JYI.T   •   .   2.0%
                                 MAGNESITE (MgCO.)                           .94                       N.IYI.T. 1.10%
                                 COLOR                                     86.0                        WHITE (BY STANDARD)
                                                                                                                                             3
                                 BULK DENSITY                              24.46                       20.5 to 25.5 lbs./ft.
                                 COMPACTION           ·




                                    MAX. VOLUIYIE                         146 cc
                                     MIN. VOLUIYIE                         82 oc
                                    AVERAGE VOLlJIII E                    114 cc
                                 SCREENS - 60                              100.00                      100%
i
! :                                            - 100                       100.00                      N.L.T. 99.7%
I
                                               - 200                        98.66                      N.L.T. 98.5%
                                               - 325.                       85.55
                                 TRACE ELEIYIENTS
                                      ARSENIC                                                          N.m.T. 2ppm.
                                      HEAVY mETALS                     less than 10                    N.IYI.T. 10 ppm.

                                 WATER SOLUBLE IRON                    pass test·                      PASS TEST

                                 miCROSCOPIC EXAmiNATION               pass test                       PASS TEST

                                  pH                                         8.89




                                                                                                                     ·:   .




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                                                                                                        Prudencio Pltfs' Ex. 061 0 pg 1 1
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                   Table 4                            •
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                                                                                               •

                                                      L A   B 0 R A T 0 R Y      R E P 0 R T

                                                                                      Data Produced 1/29/74

                                  Product or Grade -"...�o
                                                      6.u6.&...
                                                            A:L..� -
                                                                   ' ' __.;..______________                   _




                                  Sample No. or Description              N-butanol floated product




                                  TEST                                f"INDINCS                    SPECIFIED
                                  rrtOISTURE                                 .Qj                   N.m.T. o:1s%
                                  TOTAL A CID SOLU BLE                     1!)2 ·                  N.m.r. 2.0%
                                  MAGNESITE ( MgCO. )                          �Z2                 N.m.T. 1.10%
                                  COLOR                                   sz.o                     WHITE (BY STANDARD)
                                                                                                                   .            3
                                  BULK DENSITY                            22 .40                   20.5 to 25.5 lbs./ft.
                                  COIYIPACTION

                                     IYIAX. VOLUIYIE                   1�0 ee
                                     IYIIN. VOLUME                        94    co

                                     AVERAGE VOLUIIlE                   112 ee
                                  SCREENS - 60                          100 .00                    100�   .




                                               - 100                    100.00                     N.L.T. 99.7%
                                               - 200                      98.99                    N.L.T. 98�5%
                                               - 325.                     91 .27
                                  TRACE ELEMENTS
                                       ARSENiC                                 �o?                 N.m.T. 2ppm.
                                       HEAVY METALS                 less than 10·                  N.m.T. 10 ppm.

                                 WATER SOLUBLE IRON                 pas s ·.t e s t                PASS TEST

                                  MICROSCOPIC EXAMINATION           pass test                      PASS TEST

                                   pH                                       8.47
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                                                                                                    Prudencio Pltfs' Ex. 061 0 pg 1 2
        \ '      Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58                                                             Desc
              Table 5                             •
                            Exhibit Exhibits 9-11 to Satterley Declaration Page 14 of 98
                                                                                                                  •

                                              L A 8 0 R A T 0 R Y                            R C P 0 R T

                                                                                                            Date Produced     t/29/?4
                          Product or Grade         -"�6.c.:."--"
                                                            6 AOIJC"-'-'    ·=----------- -----­
                                                                           ...;


                          Sample No. or Description N-butanol,o1tr1c ac1d floa ted

                             product


                          TEST                                         riNDINGS                                              SPECifiED
                          IYIOISTURC                                                 .02                                     N .111. T. 0.1
                                                                                                                                          ' 5�
                          TOTAL ACID SOLUBLE                                        1.2)                                     N.IY!.T. 2.0 %
                          MAGNESITE (MgCO.)                                          .66                                     N.IYI.T. 1.10%
                          COLOR                                                    87.4                                      WHITE (BY STANDARD)
                                                                                   21.64                                                                 3
                          BULK DENSITY                                                                                       20.5 to 25.5 lbs./rt.
                          COMPACTION
                             MAX. VOLUME                                   140 cc
                             MIN. VOLUME                                   100 cc
                             AVERAGE VOLUI'IE                              120 cc
                          SCREENS - 60                                     100.00                                            100%
                                       - 100                               100.00                                            N.L.T. 99.7 %
                                       - 200                                   .99.15                                        N.L.T. 98.5%
                                       - 325                                   91.9?
                          TRACE ELEMENTS
                              ARSENIC                                                   .17                                  N.M.T. 2ppm.
                              HEAVY IYIETALS                      less                 than       10   ·.
                                                                                                                             N.m.T. 10 ppm.

                          WATER SOLUBLE IRON                   pa ss te s t                                                 . PASS TEST

                          MICROSCOPIC EXAIYIINATION pass t e s t                                                             PASS TEST

                          pH                                               .   .   .   7_._ 6_4   __




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                                                                                                                                 Prudencio Pltfs' Ex. 061 0 pg 1 3
                       Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58           Desc

                       Table 6                        •                           •
                                  Exhibit Exhibits 9-11 to Satterley Declaration Page 15 of 98

                          C OMPARI TIVE TALC REC OVER IES DURING REAGENT TRIAL PERIOD

                                                      Ultrawe t D . S.   n-butanol      n-butanol
                                                                                      citric acid

                                              H           6?.05          63.54            61.49

                                              T           40.15           26.70           23.95

                                              c           98,08          98.80            98.71

                              � RECOVERY                  67.93          79.45            80.61

                              t. CHANGE                       0          +16.97          +18.67
                              VS. ULTBA'NET
                              COLLECTION
                              PERI OD                                                                  ;




                                H=% acid insoluble content or ore
                                T=%·ac1d insoluble content of tailings
                                C=% acid insoluble content of cleaner concentrate




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                               Exhibit Exhibits 9-11 to Satterley Declaration Page 16 of 98
                                    7
                                                                                     •
           '


                         Table




                                                  OVERSIZE COUNT

                              Numb�r perc ent particle si'z e distribution of.

                               "66 U"-Ultrawet D,S, Floated· Ialc 1/29/74
                                                                      I



                             SIZE                 NUMBER          96. GREATER THAN
                          _(microns)                              STATED SIZE

                                   �.0               4113           100_..00

                                   2.5               3 7 12          90 25

                                   5.0               2431            59 11

                                 10                  1 106          26 89

                                                      556
                                        .   .

                                 15                                  13 52

                                 20                   297                7 22

                                 30                     79               1 92

                                 40                    36                 88

                                 50                     12                29

                                 60                      2                OS


                              MEAN          SIZE =    8 . 62   microns



                      Note:
 1.                               Limiting Detection Threshold.='               2.0   microns
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                                                                                          Prudencio Pltfs' Ex. 061 0 pg 1 5
1,                                     Figure
                                       Case    1
                                            23-01092-MBK     Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58                                                            ·
                                                                                                                                                                                         Desc
                                                                                        •
                                                  Exhibit Exhibits 9-11 to Satterley Declaration Page 17 of 98
                                           NUMBER PERCENT PARTICLE SIZE DISTRRIBU TION BY OVERSIZE COUNT OF
                                                                                                                                               •
                                               "66 U"- Ulrawet D. S . Floated Talc                                                          1/29/74

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                                                 NUMBER PERCENTAGE GREATER THAN STATED PARTICLE SIZE




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                                                   •
                     Table 8 Exhibit Exhibits 9-11 to Satterley Declaration Page 18 of 98
                                                                                            •
      .
  .       .




                                                   OVERSIZE COUNT

                             Number percent particle size distribution of

                             "66 A"- Butanol Floated Talc 1/29/74


                           SIZE                    NUMB ER            % GREATER THAN
                         (microns)                                    STATED SIZE

                                 � .o             4399                100.00

                                 2.5              4139                 94.08

                                 5.0              2836                 64.46
                                          '




                               10                 1323                 3 0.07

                               15                 757                  17.20

                               20                  401                  9.11

                               30.                 126                  2 86

                                40                    41                 .93

                                50                    14                     •   31

                                60                     3                     .06


                               MEAN SIZE          =        -9.39   microns


                     Note:
                                 Limiting Detection Threshold =                       2.0   microns




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                                                                                                 Prudencio Pltfs' Ex. 061 0 pg 1 7
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                        ..   Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                              Figure 2 Exhibit Exhibits 9-11 to Satterley Declaration Page 19 of 98
                                                     -·                            •
                                NUMBER PERCENT PARTICLE SIZE DISTRRJBUTION BY OVERSIZE COUNT OF
                                 " 66 A"- N-butanol Floated talc 1/29/74

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                                   NUMBER PERCENTAGE GREATER THAN STATED PARTICLE ·SIZE




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         '
                           Table 9 Exhibit Exhibits 9-11 to Satterley Declaration Page 20 of 98
                                                   •                                •
     '       .




                                                  OVERSIZE COUNT

                              Number percent particle size distribution o�

                             1166 AC"- Butanol,Citr-ic .Acid Floated Talc 1/29/74


                              SIZE                NUMBER        % GREATER THAN
                            (microns)                           STATED SIZE

                                  � .0            4035             100�00

                                  2.5             4003             99.20

                                  5. 0            3105             76 95

                                 10               1632              40.44

                                 15               863               21.38

                                 20               513              12.71

                                 30.              160                  3.96

                                 40                53                  1 31

                                 50                12                  .29

                                 60                  8                   19


                              MEAN. SIZE =          11 08•   microns



                         Note:
                                 Limiting Detection Threshold �               2.0   microns




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                                                                                         Prudencio Pitts' Ex. 061 0 pg 1 9
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                         Figure
                        Case     J
                             23-01092-MBK              •
                                              Doc. 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58
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                                   Exhibit Exhibits 9-11 to Satterley Declaration Page 21 of 98
                                                                                                      •                                    Desc

                           NUMBER PERCENT PARTICLE SIZE DISTRRIBUTIO N BY OVERSIZE COUNT OF
                               " 6 6 AC"-         N-butano l,C 1 tr 1 o Ae1d Floated talc                   ·       1/29/74

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                                NUMBER PERCENTAGE GREATER THAN STATED PARTICLE·SIZE ·




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                                                                                                                      Prudencio Pltfs' Ex. 061 0 pg 20
                 ... .
                         Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                           Table 10Exhibit Exhibits 9-11 to Satterley Declaration Page 22 of 98
                                                      •                             •
            .•




                                                  Weight perc ent particle size distribution
                                                  by Andreasen Sedimentation Pipette
                                                  of Ulrawe t Floate d Grade"66 U" Product 1on Talc 1/29/7
                                                                                                           4

                         Time              Hei ht r        Wt.       Equivalent spherical        Percent. less .
                         (min. )           ( em            (mg)      diameter (microns )         than stated size
                                                                       '

 .'• �··-
                         2                 20.50              89.J          43.0                     8? .J .
                         4                 20.0.8             72.1          30.1                     70.1
                         6                 19.66              52.1          24.3                     .50.1
  ..
                         30                19.24              20.0          10.8                     18.0
                         60                18.82              12.0           7.5                     10.0
                         90                18.40-              9.2           6.:1                      7.2
                         130               17.98               7.4           5.0                       5.4




                                                  Part icle ·size in Microns            Percent by weight
                                                  ( Equivalent Spherical Diameter)                              .· .




                                                  Less Than          Greater Than
                                                                           43.0                      12.7
                                                  43.0                     30.1                      17.2
                                                  30.1                     24.3                      20.0
                                                  24.3                     10.8                      32.1
                                                  10.8                      7.5                       .8.0
                                                   7.5                      6.1                        2.8
                                                   6.1                      5.0                        1.8
                                                   5.0                                                 5.4




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                                                                                           Prudencio Pltfs' Ex. 0610 pg 21
 '
 I                   Figure
                    Case      4
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                                              PARTICLE SIZE DISTRIBUTION
                                              BY ANDREASEN PIPETTE OF ULRAWET FLOATED GRADE "66 U"
                                              PRODUCTION TALC 1/29/74




     � 2.


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             1                     2              3   4   5   678910                     3)   .   40   50 00     80 ; 10

                                              EQUIVALENT SPERiCAL PARTICLE DIAMETER (MICRONS)
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                                    F i gure 5   Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                   Desc
                                                            Exhibit Exhibits 9-11 to Satterley Declaration
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                      Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58               Desc
                        Table 11Exhibit Exhibits 9-11 to Satterley Declaration Page 25 of 98
                                                       •                          •
                                                   Weight percent particle size di stribution
                                                   by Andreasen Sedimentation Pipette
                                                   of Butanol Floated Grade •66A" Produc t i on Talc 1/29/ 74


                       Time                  Hei htr        Wt.
                                                            (mg)
                                                                     Equivalent spherical       Percent less
                       (min. )               ( em                    diameter (microns )        than stated size

                       2                      20.50         88.6          43.0                      86 . 6
                       4                      20.08         73 . 9        30.1                      71 . 9
                       6                      19.66         61 . 8        24.3                      59 . 8
                       30                     19.24         2) . 6        10.8                      21 . 6
                       60                     18.82         14 . 7         7.5                      12.7
                       90                     18.4Q.        11 7
                                                               •           6.1                       9. 7
                       130                    17.98          9. 1          5.0                       7. 1




                                                   Particle Size in Microns           Percent by weight
                                                   (Equivalent Spherical Diameter)                              .· .




                                                   Less Than          Greater Than
                                                                         43. 0                      13.4
                                                   43.0                  30. 1                      14 . 7
                                                   30. 1                 24.3                       12.1
                                                   24. 3                 10.8                       )8.2
                                                   10.8                   7.5                        . a ·. 9
                                                    7.5                   6.1                          ).0
                                                    6.1                   5 .0                         2.6
                                                    5.0                                                7.1




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                   Case 23-01092-MBK Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58
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                              Exhibit Exhibits 9-11 to Satterley Declaration Page 26 of 98
                                                           I
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                                               PARTICLE SIZE D I STRIBUTION
                                               BY ANDREASEN PIPETTE SF BUTANOL FLOATED GRADE "66A"
                                              ·PRODUCTION TALC 1/29/74
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                                              EQUIVALENT SPERICAL PARTICLE DIAMETER (MICRONS)




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                         Case 23-01092-MBK
                          Table  12            Doc 46-3 Filed 04/17/23 Entered 04/17/23 15:40:58              Desc
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                                                   Weight percent particle size distribution
                                                   by Andreasen Sedimentation Pipette
                                                   o :f Butanol- C 1 tr1c F loated Grade "p6AC " Produ c t i o n Talc 'J/2174


                         T im e            Hei     r t        Wt. ·     Equivalent spherical          Percent less
                         (mil). . )        ( em               (mg)      diameter( micr9ns )           than stated size

                         2 '                20. 50            90 . 7         . 43 . 0                        88 . 7
                         4                  20. 08            77.9             30.1                          7 5·. 9
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                         6. ·               1 9 . 66          6) . 2           24. 3                         61.2
                         30: .            . 19 . 24           26. 1            10. 8                         24 . 1
                         60                 1 8. 82           16.9              7 -. 5                       14 . 9
                         90                 18.4 0·           12.9              6 . 1.                         g
                                                                                                             t .9
                         130                17 . 9 8          10.1              5.0                                1
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                                                   Particle Size in Microns                  Percent by weight
                                                   (Equivalent Spherical Diameter)


                                                   Less Than             Greater Than
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                                                   43 . 0                    30. 1                           12 . 8
                                                   30 . 1                    24. 3                           14 . 7
                                                   24. 3                     10. 8                           37 . 1
                                                   10.8                       7.5                            . 9. 2
                                                    7.5                       6.1                               4.0
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                     Figure
                    Case 23-01092-MBK
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                                                      •                      •
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                                              PARTICLE SIZE DISTRIBUTION       .
                                              BY ANDREASEN PI PETTE OF BUTANOL-CITRIC FLOATED GRADE "66AC"
                                               PRODUCTION TALC 1/29/74




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                                              EQUIVALENT SPERICAL PARTICLE DIAMETER {MICRONS)

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                       Table Exhibit
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                                                  •                                •
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                                    AMPEIBOLE CONTENT OF REAGENT TRIAL PROCESS SAMPLES


                                                            . .




                    Sample                                Amph i bole
                    de s ignation                         level ( ppm)


                           A ore                           3000

                           A product                       100-200
                                                                                   ----




                           ·B ore·                         3000 ·

                           B produc t                      100-200

                           ·c ore                          )000

                           C · produc t                    100�200




          LEGEND :
                                A� Ulrawe� D . s . trial period
                                B� N-butanol trial period
                                C� N-but ano � c 1 t r 1 c a c i d trial perio d




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                         TableExhibit
                                14 Exhibits 9-11 to Satterley Declaration Page 32 of 98
                                                   •                                            •

                             Relative amoun ts of chlor i te ,                  dolomite ,      and mag n e s i te

                                                                with re spec t to talc




                                             Chlori te/Ta lc                  Dolomite/Talc              Magnes i te/Ta lc



               ORE A                              7.0       X   1 0- 2               0 . 12                     0 . 27

               ORE B                              8.6       X   1 0- 2               0 . 11                     0 . 23

               ORE c                              7.4       X    1 0- 2              0 . 11                     0 . 25



                                                                      3
               PRODUCT A                          10    X       10-           very sma l l               very smal l

               PRODUCT B
                                                                          3
                                                  8.6       X   10-           very sma l l               very sma l l

               PRODUCT C                                                  3
                                                  8.5       X    1 0-         very    sma l l            very   sma l l




               TAILS A                                 0 . 28                        0 . 78                     1.2

               TA ILS B                                2.6                           5.7                        11

               TAILS C                                 2.4                           6.0.                       12
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           LEGEND :
                                    A- Ul traw e t D . S . trial pe riod
                                    B.- N-butanol t r i al pe riod
                                    C- N-butan o l - c i t r i c ac i d trial pe r i od


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                          X-RAY DIFFRACTI ON PATTERNS OF REAGENT TRIAL TALC PROCESS SAMPLES

                                     A- U l t ra\� e t D . S .- t r i al pe r i o d
                                     B- n-butanol       t rial pe r i o d
                                     C- � -but � nol    t r i a l pe r i o d                     c - chl o r i te
                                                                                                 T-    talc
                                                                                                 D- dolom i te
                 •




                                                                                                 M- magne s i t e
                                           �--          OFF       S C ALE -- �

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                            PHOTOMI CROGRAPHY OF "66 U"- Ultrawet D . S . Floated Product




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                             PHOTOMICROGRAPHY OF "66 A " - N-butanol Floated Produc t




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                           PHOT.OMICROGRAPHY OF "66AC " - N-butanol Floated Produc t




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                         ASBESTIFORM FIBER COUNTS BY WALTER C . MC CRONE ASSOCIATES



                        Sample de s ignation             Fiber oount per          F iber i de n t i f ication
                                                         E . M . gri d

                            6 6 - U-Ore                       0

                            66-U-Produo t                     1                    Probably chryso t i le

                            66-A-Ore                          1                    Probab ly chrys t 1 le
                            66 -A-Product                     0
                                                                  ' '


                            6 6-AC-Ore                        8                                Chryso t i le .
                            6 6-AC-Produc t                   1                                Chrys o t 1 le




              LEGEND :

                            6 6 -u- Time pe riod u s i ng Ultrawe t D . S .
                            66-A- Ti me pe r i od us ing n -butanol
                            66 -AC- Time period us ing n-butano l - c i �r1o acid




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                                                          ATTACHMENT B




                                                      ASBESTIFORM DEPRESSION


                                                        THROUGH THE USE OF


                                                  NEW FLOATATION REAGENT SYSTEMS




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                 INTRODUCTION :

                       A s tudy was performed at Windsor Minerals to quantify the effect­
                 iveness of two new f l oatation reagent systems in the depress ion of
                 asbe s tiform mineral s in the floatation proces s .   Analysis of the f l oated
                 products was accomp l i shed us ing a Mi l l ipore lfMC Image 'A'na·lyzer · as the
                 analytical detection device.

                 CONCLUSIONS :

                       1.     A comb ination of n-butyl alcohol as a frother along with
                              ci tric acid as a depressive agent proved to be 20 times
                              as effective as U l t rawet D . S . suppres s ing asbe s tiforms in
                              the f inal produc t .

                       2.     Us ing only n-butyl alcohol as a frother proved to be
                              7 times as effective as Ul trawet D . S . in suppre s s ing asbe s ti­
                              forms .

                       3.     Ultrawet D . S . provided only a minimal suppres s i on of asbe sti­
                              forms through the floatation proces s .

                 EXPERIMENTAL :

                        Ground ore from the Hammond svi l l e Mine was "doped" with 1 . 0% by weight
                 of the ·. fibrous form of anthophyl ite which occurs as a r·are . mineral in
                  the Hammondsvi l l e ore ·�od�, and suoj ected to a series o f laboratory
                 f l oatations us ing the fol l owing reagent sys tems :

                       1.     U l t rawet D . S .

                      2.      n-butyl alcohol

                       3.     n-butyl alcoho l-ci tric acid.

                        The produc ts obtained from the se laboratory f loatations were
 '
.:
                 scanned on a video moni tor coup led to an optical. microscop e , the system
                 hav ing a useful magnif ication of SOOX. · C l early recognizable asbes ti ­
                 f o rm anthophy l i te was counted and totalized over 100 viewed fields.
                 The number o f partic l e s viewed in the 100 fie lds were totalized by
                 means of a compl ementary computer interfaced to the system.          The
                 numbers obtained by this technique were compared to - tho se obtained
                 by an identical analysi s of a s tandard preparation co�s i s t ing of a
                 Grade "66" product . ' "doped" wi th 2 . 0% by weight o f f ibrous anthophy l i t e .
                                                   _
                 RESULTS :

                     . . .Tab le 1 gives the data and calc_u lated numerical relat ionships
                 devised to ind icate the effectivene s s of the new reagent sys tems in
                 the depres s ion of fibrous anthophy l i te .   The se relationship s , their
                 value and . definit ions are as f o l l ows :


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                        1.        Rej ection facto r : a relationship derived to indicate the
                                  weight rej ect ion of anphophylite us ing a given reagent
                                  system.    This relationship is arrived at by comparing the
                                  anthophylite weight percentage in the f l oated product
                                  to the 2 . 0% asbestiform " doped" product which represents
                                  a f l oated material having und ergone no rej ection of asbe s ti ­
                                  forms from the o r e t o the produc t .
                                                               ·
                                       The Rej ection Factor is defined in the se experiments
                                  for a given f loatation reagent as : --��   2�
                                                                               ·�
                                                                                0��--���
                                                                       anthophy l i te weight
                                                                       percentage in
                                                                       f l oated product

                        2.        Rej ection Ratio - This term relates the effec t ivenes s of
                                  supp res s ion of asbestiforms by the alcohol based sys tems ,
                                  to the exi s ting Ultrawe t D . S . system and i s defined as
                                  fol l ows :

                                            Rej ection Ratio   =   Rejection Factor of new reagent sys te�
                                                                   Rej ection Factor of Ultrawet D . S . system




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               Table I             Asbestifo� Analysis of Cosm.etic Grade Tales Us ing                   lfMc
                                   Image Analyzer.


                                                                                                   N-Butyl
                                                  2 . 0%          Ultrawe t D . S . N-Butyl        Alcohol
                                                  Asbes ti form   F loated          Alcohol        Citric Ac id
                                                  Containing      Product           Floated        Floated
                                                  Product                           Product        Product

               Total F i e l d s
                                                      .
               Counted                                     100           100           100               100


               Total F ibers                               298            37              6                 2
               Counted


               Total Part icles                       10681          9 166         11416              10103
               Counted


               Weight Percentage                       2 . 00       . 2894          . 03 7 7          . 0142
               Asbes tiform


               Rej ection Factor                      1 . 00         6 . 91        53.08             140 . 94


               Rej ection Ratio                                      1 . 00        . 7 . 68           20 . 39


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                   SUMMARY AND REMARKS :

                        The data shows a profound inf luence of the alcohol based reagent
                   system upon the amounts of asbestiforms repo rting in the f loated
                   produc t . I t i s apparent that the system which inc ludes c i tric acid
                   is more effective than n-butanol alone.

                           Al though the data was accumulated 'f o r the s pe·c 1 f. 1 c m i n e ral s pe c i e s ,
                   · fib-rous anthophy l i t e , the same results can b e predicted for other
                     f ibrous amphibo l e minerals and chrysotile asbestos found in associa­
                     tion with the Hammondsv i l l e ore body who se surfaces expo se a sub­
                     stantial concentration o f magnes ium and hydroxl groups as reactive
                     sites.




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                                                       ATTACHMENT C




                                       MI NEROLOGY OF ORES,    PRODUCTS AND MILL TAILS RE

                                       DIFFERENT FLOATAT ION REAGENTS




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                           TO :             WINDSOR MINERALS INC . , Wind sor , Vermont        05089

                           FROM :           R. C . Reyno ld s , Jr . , Department of Earth Sc iences
                                            Dar tmouth College , Hanover , N . H .  037 5 5

                           SUBJEC T :       Mineralogy o f Ores , Pr.oducts and Mill Ta i l s Re
                                            Different Flotation Reagents


                           INTRODUCTION :
                                               .
                           A study was made o f the mineralogy of talc products and mill

                           ta i l s that were produced by the use of three differ ent flo-

                          · ·t'ation· scheme s .       The des ignations and descr iptions used in

                           this report are a s follows :



                                             Flot<:t t·ion Agent                     Des ignation

                                                  Ultrawet                               A

                                                  Butanol                                B

                                                  Butanol    +   Citric Acid             c




                           In addition ,           studies were made of the ore that produced each

                           of the products and mill tail s .


                           TECHNIQUE :

                           Ores , produc ts , and ta i l s were analyzed by x-·ray d i f fraction

                           method s .        Copper    Ka    radiation was u sed and the region 20 . = 2 4

                      (' to 2 0
                     ,.
                                     =   3 4 ° was scanned .         This 20 region contains important

                           peaks from talc , chlor ite , dolomite and magne site .               Examples

                           of runs are shown on Figure 1 .                 The data in Table 1 was

                           obtained by averaging peak heights from three s�ans of each

                           sampl e .




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                           Mater ia l s were studied for amphiboles by means of                                   the heavy­

                           l iquid-benzethonium chloride method described                                     in the Windsor

                           Mineral Report of March ,                    19 7 4 .    To improve separation and

                           subsequent semi-quantitative estimation of amphibo l e ,                                     product

                           samples were spiked with dolomite and tourma l ine ,                                   s i z ed

                           1 0 - 4 0ll ,   to better           s imula.te the ore s , which behave wel l                     in the

                           amphibol e        separation procedure .



                           RESULTS :

                           Figure 1         shows the x-ray . dif fraction patterns of o r e s ,                             produc ts ,

                           and ta i l s a s sociated with each o f the . flotation procedur e s .

                           Peaks are         labelled C           =   chlor ite ,    T   =   Talc ,   D   =    do lomite ,       and

                           M   =   magne site .            The resu l t s clearly show

                                                  (1)       the low chlor ite , magne s ite ,                 and do lomite
                                                            in a l l of the produc ts

                                                  .( 2 )    the large amounts o f magnesite,                     do lomite ,
                                                            and chlorite in ores and ta i l s

                                                  (3)       the low concentration o f talc in t a i l s
                                                            B and C

                           Ores A ,        B and C are similar a s are produc ts A ,                           B and C .     ·   The

                           only sign i f icant d i f f erence among the three treatments shows

                           in the ta i l s ;          tho se from treatment A                ( u ltrawet)       c l early have          �


                           much large talc con·tent than do the ta i l s from the butanol

                      . or the butanol-citric acid experiment .
                      ·
                       .


                      r
                     · ' Table 1 s hows data tabula ted from repeated                                 (three time s }            runs

                           similar to those shm-m on Figure 1 .                              The values are meaningful

                           only in a relative sense .                      There appear to be no s ignif icant

                           d i f f erenc e s among ores A,                B and C , and products A , B and C .




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                       The major dif ference is among the ta i l s , where ta i l s A i s c lear-

                       ly much r icher in talc than ta i l s B or tails c .


                       It i s concluded that :

                                                  (1)   The ores used for the three flotation
                                                        experiments are very similar or identic a l
                                                        i n mineralogy

                                                  (2)   The products A , · B and C are similar except
                                                        that product A does have a s l ightly higher
                                                        chlorite content

                                                  {3)   The tails for B and C are simila r , but
                                                        ta i l s A i s c l early higher in talc . Henc e ,
                                                        the u ltrawet f lotation agent c l early pro­
                                                        duced a higher loss of talc to the mill
                                                        ta i l s than did the butanol or butano l­
                                                        c itric ·acid reagents


                       The resu l t s from the amphibol e separation are somewhat ambiguous

                       because of the diff iculties in obtaining reproduceable extractions

                       from the produc ts .                However , the tourma l ine added to products

                       A and B was recovered to within ± 1 0 % for each, giving confidence

                       in the e f f ic iency of the separa tion .                Ba sed on optical estima tes

                       from the se sample s , and separations of the three done without

                       tourma l i n e ,           it is concluded that all three products contain
                                                                      .
                       es sentia l l y similar concentra tions of actino l ite , and that its

                       absolute concentration l ies between 1 0 0 and 2 0 0 ppm· .                           '




                      . CONCLUS IONS :
                      r
                     . • As a resu lt of the mineralogical studies reported her e ,                    the

                      ' following are conc luded :

                                                  (1)   Ores A , B and C are e s sentially identical
                                                        with respect to their concentrations of
                                                        magne s ite , dolomite·, chlorite and actinolite




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                                                  ( 2)   Ta i l s B and C are identical with r e spec t
                                                         to ta l c , magnesite , do lomite and chlor ite ,
                                                         but ta i l s A is significantly richer in talc

                                                  (3)    Products A , B and C are es sentia l ly identi­
                                                         cal with respect to their concentrations of
                                                         magnesite, dolomite and actinolite : Product
                                                         A con t a i n s a somewhat lar g e r qua n t i t y of
                                                         chlorite

                                                  (4)    Amphibo le separations from products are
                                                         diff icu l t to achieve quantitative ly , but
                                                         the additi.on of carbonate and s i l icate
                                                         carriers seems promis ing in el iminating
                                                         the d i f f iculties




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                                                                TABLE 1


                           X- RAY DIFFRACTION PEAK RAT IOS FROM ORES , PRODUCTS AND TAILS




                                                  Magnesite/Talc     Dolomite/Talc     Chlor ite/Talc




                     Ore A                             0 . 27             0 . 12           0 . 07 0

                     Ore B                             0 . 23             0 . 11           0 . 08 6

                      Ore c                            0 . 25             0 . 11           0 . 07 4


                      Produc t A                   Very low           Very low             0 . 0100

                      Product B                    Very low           Very low             0 . 0086

                      Product c                    Very low           Very low             0 . 00 8 5


                      Tai l s A                        1.2                0 .78            0 . 28
             ' ...
                      Tails B                         10 . 9              5.7              2.6

                      Ta i l s c                      12 . 2              6.0              2.4




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                                                         TABLE 2

               ACID INSOLUBLE HEAVY LIQUID RESIDUES FROM PRODUCTS , ORES AND TAILS




                                                                            PPM ESTIMATED
                                                   PPM TOTAL                 AMPHIBOLE




                           Ore A                     9000                      "-3 0 0 0

                           Ore B                  1 0 , 500                    "-3 0 0 0

                           Ore c                     8800                      "- 3 0 0 0


                           Product A                                         100-200*

                           Product B                                         1 0 0-2 00*

                           Product c                                         100-200*


                           Tai l s A                 34 , 6 0 0           too much chlorite

                           Ta i l s B                3 6 , 1 00           too much chlorite

                           Ta i l s c                4 4 , 100            too much chlorite




                           * S e e text




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                                                                                             Figure 1                            X-ray dif fraction                                traces            of ores ,              produ c t s
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<....                                                                                                                            and m i l l tail s .                           Chlorite               =    c , . talc � T ,
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 X                                                                                                                               magnes i te                  =    M,      and dolomite                     =     D.
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              Exhibit 10
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Amphibole Content of Cos·metic and
Pharmaceutical Tales
by A. M. Blount*

                 Pharmaceutical and (OliiiDdk-gradt tales Mft aamlned for MbeSdrorm ampblbolt coatmt usina a DlW demity�
               method. 1Rks under the Food aod Drua Administration are DOt regulated as to asbe5lo5coattat; �. all tales Mrt
               MU bdow the level mandated by the OcxapatioaaJ Safety and Healtb Adminbtratioa for industrial tales. Oaly o8r was
               found to coatala an ampblbok particle sbt distribution typical � 8lbestos.



Introduction                                                                The tales that are pharmaceutical grade fall under the domain
                                                                          of the FDA and are therefore nonregulated in regard to fibrous
  In 1973 the Food and Drug Administration (FDA) proposed a               mineral content. In the course of developing a technique to
regulation on the pennissible asbestos content of talc (1 ). This
                                                                          facilitate quantification of amphiboles in talc (5), phannaceutical
regulation proposed to limit the amount of amphibole minerals
                                                                         and high-grade tales were examined. They were found to have
to less than 0.1% !lfld chrysotile to less than 0.01%. However, the
                                                                         very low amphibole content and, because of this, were extensive­
optical microscopy method proposed was so �mplicated,                    ly used in examining the lower limi t of detection of the new
lengthy, and subject to enor that the proposed method was never          method. The purpose of this paper is to describe the results of
finalized. Since then no final ruling has been issued.                   analyses for content and shape of amphibole mineral fragments
  The Occupational Safety and Health Administration, on the              in cosmeti� and pharmaceutical talc �ers of the United States.
other hand, has been more rigorous and has instiNted regulations
despite the lack of methods to carry out the required measure­
                                                                          Methods
ments. One regulation, instituted in 1986, defines amphibole
minerals as asbestos if the length to width ratio is 3:1 or greater.       The method proposed by the FDA in 1973 for analysis of talc
Because many nonfibrous cleavage fragments of amphibole                  was an optical procedure as described below (1 ):
minerals have a 3:1 aspect or greater and because there is no good
                                                                               Weigh out I milligram of a representative ponion of laic on each of two
evidence for adverse effects of these particles, a stay has been in         microscope slides. Mix the laic with a needle on one slide with a drop of
affect on this part of the regulation (2). The second applicabre             1.574 refractive index liquid, and then the ocher with 1.590 liquid, and place
regulation is the Hazard Communication Regulation (J), which                on each a square or reccangular cover glass sufficiently large so that the
applies to all chemica1s used in the workplace. Specifica1ly, it re­        liquid will not run out from the edge (ca. 18 nun square) and will provide
                                                                            a uniform particle distribution. Fibers counted by this method should meet
quires labeling of substances containing > 1% of a chemical                 the following criteria: (i) Length to width ratio of3 or greater (ii) length of
hazardous to health and > 0.1% of a carcinogenic chemical.                  5 pm or greater (iii) width of 5 pm or less. Count and record the number
  Unfortunately, asbestos and amphiboles cannot be measured                 of asbestos fibers in each I milligram as cletennined from a scan of both
using currently developed methods to the level of 0.1% in the               slides with a polarizing microscope at a magnifiCition of approximately
                                                                            400x. In the 1.574 refractive index liquid, chrysotile fibers with indices
::>resence oftalc. Some investigators have suggested that tremolite
                                                                            less than 1.574 in both extinction positions may be present: in the 1.590
:an be measured to that level by X-ray diffraction. But others              refractive index liquid, the other five amphibole typesofasbeslos fibers with
1ave shown that the peak intensities vary between nonfibrous and            indica exceeding 1.590 in both extinction positiom may be present. Check
ibrous tremolite (4) so that the 0.1% level of detection and                the extinction and sign of elo,..UOO br tenlalive identification. For specific
neasurement is doubtful except in cases where the sample has                identification of asbestos fibers, make additional mounts in appropriate
                                                                            refractive index liquids, and refer to the optical cl)'Siallogmphic data in the
>een spiked so that the exact nature of the tremolite is known. For         table. A count of not more than 1000 amphibole types of asbestos and not
.nthophyllite there is Iinle argument about the filet that detection        more than 100 c:hrysotile asbestos fibers per milligram-slide constitutes the
 annot be made to 0.1%. However, the main problem with using                maximum limit for the presence of these asbestos fibers in talc. lbese limits
 :-ray diffraction for detection of amphibole minerals is that it           assure a purity of at least 99.9 percent free of amphibole types of asbestos
                                                                            fibers and at least 99.99 percent free of chrysotile asbestos fibers.
  i ves no information about the shape of the particles, and shape
 ; important in view of the uncertainity in the outcome of the              The problem with the proposed method is that talc flakes are
 >bestos regulation pertaining to nonfibrous amphiboles.                 often oriented vertically or at a sufficient angle that they appear
                                                                         to be needles and thus must be tested for refractive index (Fig. 1).
                                                                          A typical number of such particles is five per field of view. This




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                                                                                                                           The general procedure involves weighing about 60 mg sample
                                                                                                                       into a microcentrifuge tube and adding heavy liquid of density
                                                                                                                        2.810. After these are mixed, the tube with sample is placed in a
                                                                                                                       vacuum for 3 min to remove the small bubbles adhering to the
                                                                                                                        particles. After centrifuging the sample for 10 min at 7000 rpm,
                                                                                                                       the heavy particles are removed from the bottom of the tube with
                                                                                                                       a micropipette.
                                                                             \
                                                                                                                           The counting of panicles can be done either on a membrane
                                                                                  .                                     filter (Nuclepore, 1.0 I'm pore size) which has been placed on a
                                                                                    \
                                                                                     \                                 microscope slide or as particles directly on the glass slide. In the
                                                                                                                       first case, the heavy liquid with sample is forced through a mem­
                                                                                                                       brane filter followed by distilled water to clean out the heavy li­
                                                                                                                       quid. The filter is then placed on a glass slide while wet. When
                                                                                                                       dry, 1.584 refractive index liquid is placed on the filter followed
                                                                                                                       by a cover glass. The photographs shown in this paper are of par­
                                                                                                                       ticles on filters.
                                                                                                                           The second case, particles directly on che microscope slide,re­
                                                                                                                       quires transferring the heavy particles and some of the heavy li­
                                                                                                                       quid to a second centrifuge tube. Distilled water is added and the
                                                                                                                       sample centrifuged. The liquid is pipetted off and more distilled
                                                                                                                       water added. This is repeated several times to clean out the heavy
                                                                                                                       liquid. Finally, the particles with several drops of water are
FIGURE      I. Thlc flakes in 1.584 refractive index liquid. Note that there are pani­
                                                                                                                       transferred to a glass microscope slide. The adwntage of this pro­
      cles in this field that have aspect ratios greater than 3:1. WKithofview0.13 mm .
                                                                                                                       cedure is chat any refractive index liquid can be used, whereas,
                                                                                                                       in che former case, che refractive index is constrained by having
means chat some 20,000 particles would need to be examined in
                                                                                                                       to match the index of the membrane filter (either 1.584 or 1.625).
a typical case. In additon, chlorite is often present and when on
                                                                                                                       The 1.584 value is good for analyzing amphiboles in talc, but che
edge must be examined in two extinction positions. This is clearly                                                     centrifuge method described has application to other mineral
beyond what could be expected of any sane microscopist for a                                                           combinations, such as talc�uartz. Wich ocher combinations,
routine analysis. Since no ocher procedure has been developed                                                          refractive indices other than the two exhibited by the membrane
as an alternative, a compromise has been to count 100 fields of                                                        filter may be more appropriate.
view (FOV). In this way one need only examine about 500 par­                                                              The particles are counted in 20 FCN. Being concentrated from
ticles in detail.                                                                                                      60 mg or more of sample,one will see more amphiboles than in
   Because 500 particles is still a lengthy process, a more rapid                                                      100 FCN using che old mechod. The number of amphibole par­
and equally accurate method bas been developed based on con­                                                           ticles per miUigram (ppmg) is calculated:
centrating the amphibole particles by density difference. Figure
2 illustrates that there is a distinct break in density ranges be­                                                                       ppmg = amphibole panicleslmg =
tween tales and amphiboles. A heavy liquid of intermediate den­
sity is used, either Klein's (cadmium borotungstate) or Clerici's                                                      (number ofamphibole rountedlnumber FCN counted) X IOial number FCN
                                                                                                                                      (efficiency) x (numberofmgofsample)
(thallium formate-malonate) solution. Experimentation showed
chat a heavy liquid of density 2.810 gives good separation even
though values given in the literature and shown in Figure 2 would                                                      Efficiency of the spin-down is determined experimentally. For
                                                                                                                       more details ofche method see Blount (5).
suggestchat che density should be slightly higher. Because the
                                                                                                                         Figure 3 illustrates the results obtained when testing the
density difference between particles and liquid is small, to get
                                                                                                                       method using known mixtures. Because it is difficult to measure·
separation in a reasonable length of time a microcentrifuge is
                                                                                                                       and mix in very small weights of amphibole, a sample contain­
used with tubes containing 1.5 mL liquid. The height ofche li­
                                                                                                                       ing 2% tremolite in talc was mixed with pure talc to make mix­
quid column is, in this case, about 10 mm .
                                                                                                                       tures containing very low percentage values of tremolite. For ex­
                                                                                                                       ample, sample A (Fig. 3) consisting of 0.06% tremolite was made
                                                                                         I                             by weighing 58.9 mg of pure talc with 1.7 mg of talc containing
                                                                           C�o�tnmingtonite
                                                                                                                       2% tremolite (1.7 mg/60.6 mg x 2% ::: 0.06%). It is not neces­
                                                                                                    ---=-
                                                                                                                       sary to make a homogeneous mixture since the entire sample was
                                                                           Riebeckit�
                 1 ! 1c
      ,. . .. ..:. . . . .:
                          . . ..,
                                                                                                                       used in the experiment. Also,che talc containing amphibole was
                                          Tte m olite
                                          'I
                                           I      ELi@                                                                 put in the tube second in order not to give the amphibole any
                                            I Anthop.Jyllite                                                           "head-start" in sinking to the bottom.
                                           I    . .. . . - � . . . ' . • • .•. . . . •. ••• . .:p
                                                                                                                         The centrifuge method was also tested with a commercial talc.
                                                              .. I                       ,.k.lire
                                                                                                                       100 FCN were counted in ten 1-mg samples according to the FDA
                                                                                Act;
                                                      c.... ....11::,.. . . . :                            "'
                                                                                                            '

2.7                2.8              2.9   3.0
                                                            I
                                                               3.1                       3.2         3.3         3.•
                                                                                                                       procedure for amphibole. This was compared with 20 FO            Y
                                                                                                                       counts on 60-mg centrifuge samples (Fig. 4). The agreement ts
FIGURE 2.             Specific gravities oftalc and amphibole (6).                                                     quite good. The standard deviations were determined in two


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    FIGURE 3. Pettent tremolice in talc as detennined by the centrifuge/optical method (shaded bars) c:ornparcd with that ac:tuall y present in experimental mixtures (black
       bars). The dashed pan of the shaded bars indicates +2 SO (right arrow) or -2 SO (left arrow).




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                                                           100                       200                       300                       400                          500        600
                                                                                                                 PPMG

    FIGURE 4. Comparison of traditional (100 FOV) count with centrifuge/optical count of same talc. The three lower bars indicate the values in particles/mg obtained
       by the centrifuge/optical method for three 60-mg samples. The top bar is the average ofcen JOO FCN (traditional method). Thedashed pan of all the bars is +2 SO.



    ways: for the traditional method by calculating in the usual way                                                  value, more extensive counts were not generally made.
    from multiple analyses and for the centrifuge method by means                                                        It should be borne in mind that the OJ% indicated is percent
    of the Poisson distribution from single counts. Standard devia­                                                   by count and not percent by weight or volume. The question of
    tions are high for the centrifuge method because of the very few                                                  the validity of this relation has been considered (5). Briefly, the
    particles counted. These could be decreased by making a larger                                                    relation implies (1000 amphibole particles)/(1,000, 000 total par­
    count, but isnce the purpose of the study was to find a reasonably                                                ticles). Counts of total particles per milligram of talc have shown
    rapid method of monitoring amphibole content of tales, larger                                                     that 1 million particles per milligram of talc is a low value. Most
    counts were not generally made.                                                                                   show at least 2 to 3 times this number. The only exception was
                                                                                                                      a baby powder with very large flakes which showed 0.4 to 0.8
    Results                                                                                                           million particles per,...miJJigram. It was not clear, however,
                                                                                                                       whether this was a true value or due to the problem of counting
       High-grade talc products from five deposits in Montana, three                                                  where large, flakey particles could potentially hide other par­
    in Vermont, and one each in North Carolina and Alabama were                                                       ticles even in the most carefully prepared samples. Using 1000
    examined using the centrifuge/optical method. In addition, four                                                   particleslmg 0.1% would, in most samples, give a percentage
                                                                                                                                               =


    tales from outside the U.S. but available in the U.S. market were                                                 value on the high side and in this sense be a conservative answer.
    included in this study. Thies from other districts in the U.S. were                                                  The counts shown in Thble 1 were made of regulatory fibers
    examined, but these tales had grades with less stringent re­                                                      i.e. , aspect ratio > 3:1. In some samples there were as many or
    quirements and are not included in this report.                                                                   more nonregulatory particles of amphibole as regulatory fibers.
       Results of particle counts are shown in Thble I. The FDA has                                                   The shape of the amphibole varies greatly and seems to be highJy
    equated OJ% with 1000 particles per milligram. In order for am­                                                   characteristic of each deposit. In Table I, the particles having
    phibole particle content to be less than 0.1%, 20 or Jess particles                                               aspect ratios less than 6:1 are designated cleavages and prismatic
    must be observed i� FCN (5). ·since all were well below this                                                      pieces. Those greater than 6:1 and less than 15:1 are labeled




                                                                                                                                                                                   Prudencio Pitts' Ex. 0822 pg 3
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                Table 1. Counts or replatory fibers in processed tales.                 Despite the similarity of the curves, the mean length and mean
                   Counts.                                                            width of the amphibole particles measured using the centrifuge
      Saml!le   l!anicles/mg      so    Panicle sha�s            Panicles/FOY•        method are greater than those obtained using the traditional
          A            38         25    Cleavages                    31100            method (Table 2). Analysis of size distribution indicates that the
          8           NOb                                             0/20
                                                                                      proportion larger than 15 �m is greater in the centrifuged sam­
          c           NO                                              0/20
          0          < 25'              Cleavages                     0/20            ple. This difference in dimension distribution does not appear,
          E           NO                                              0/20            however, to affect the aspect ratio distribution. Other invest­
          F           NO                                              0/20            igators have found that as particles increase in length, the aspect
                      NO                                              0/20
                                                                                      ratio shifts·to higher values (8,9). This applies to both asbestos
          G
          H            17         17    Cleavages and                 2/20
                                         needles                                      and nonasbestiform amphiboles, so presumably the effect of
                      226        59     Needles and fibers           1112rf           centrifuging down longer particles would be to force the aspect
                      283        100    Needles and fibers            8/20
                                                                                      ratio distribution peak to higher values.
                      291         98    Needles an d fibers          9/20
                      341        108    Needles and fibers           10/20
                      102         51    Needles and fibers           3/20
                       25         14    Cleavages                    1/20
                                                                                      Discussion
                       27         27    Cleav ages                   3/20
                                                                                        The high-grade talc powders are uniformly low in amphibole
        K              25         25    Cleavages                    1120
        L            <10'               Needles                      0/20             content. Counts obtained were 0 to 341 particles/mg. Indeed,
        M              39         21    Cleavages and                4/20             talc from some districts appears to be completely free of such
                                          fibers
                                                                                      minerals. In those containing amphibole minerals there are two
        N             25          17    Prismatic pieces             3/20
        0             NO                                              0/20
                                                                                      distinct types: cleavage type and asbestos type. These two types
      •fOV. fields of view.                                                           show distinctly different aspect ratio distributions as demon­
      &NO, none detected.                                                             strated in Figure 6 (samples I and M). The aspect ratio difference
      'No panicles seen during a 20 FOV count. but some panicles could be seen        probably accounts in a large part for the higher particle count per
    during a random scan of the filter. Value shown is the lower limit ofdetection.
      4Large sample used for this analysis (305 mg).                                  milligram of sample I compared with the others which show
                                                                                      cleavage fragments. It is easy to see that the number of particles
                                                                                      showing greater than 3:1 aspect ratio would be greater in the
    "needles." The remainder, which are greater than 15:1, are
                                                                                      former case even if the total number of particles of amphibole
    labeled ·'fibers.·· Whereas in many samples only a few particles
                                                                                      were equal. This observation reinforces the original decision to
    were counted as shown in the right-hand column of Table I, it
    should be remembered that even if only one particle was present                   count particles visually rather than attempting to use X-ray dif­
    in 20 FOV that about 300 were present on the slide. Because of                    fraction. It is not wise to try t o convert information on dimen­
    the low interference by talc particles, these were seen so that it                sions to percent by weight or volume because a few very large
    was easy to get a sense of the general particle shape.                            particles can drastically affect the resulting value. Campbell et
       The shape distribution of particles for several samples was                    al. (8) discuss this in some detail.
    determined. Figure 5 shows a photograph of a particle of
    tremolite in sample/. The particle is composed of fibrils. The
                                                                                                                                                                                                                         i
    length and width of 100 amphibole particles in this talc were
                                                                                                                                                                                                                         r
    measured. The resulting distribution of aspect ratios is shown                                                                                                                                                       1
                                                                                                                                                                                                                         .;
    in Figure 6. The results when compared with the aspect ratios                                                                                                                                                        '
    determinded for tremolite asbestos with SEM by Campbell et al.
    (7) show sample I has a distribution similar to asbestos. Sam­
                                                                                                                                                                                                                         t
    ple M was analyzed in the same way (Figs. 6 and 7). The graph
    of aspect ratio verses percent is compared with Campbell's
    results for nonfibrous tremolite. The similarity of the curves in­
                                                                                                               ..                     '
                                                                                                                                      "
                                                                                                                                                                                                                         1
                                                                                                                           ·
                                                                                                                               ··:·
    dicates that the tremolite in this talc is of the nonfibrous type.                                                                        ..
                                                                                                                                                  1.
       Because the fractions produced by centrifuge are not generally                                                                      ·',
                                                                                                                                          ..
    pure after a single spin-down, a sample containing a variety of
                                                                                                                                          .   :. "'.
    particle shapes was tested to see if the aspect ratio distribution
                                                                                                                                                             ·\.
                                                                                                                                              ·
                                                                                                                                                  _
    results become biased in favor of larger, chunky grains Oow                                                                                       ':..
    aspect ratio) over small, long grains (high a�pect ratio). The
                                                                                                                                                       :� t·
                                                                                                                    . ... ,.,.                            ... ...,'
                                                                                                                                                          .,
    sample used contained 6.5% tremolite, a sufficient q!,l!Ultity that                                                                                           4
                                                                                                                                                             .... . ,
    the traditional optical method could be used to compare with the                                                                                    . :�\ :' : .
                                                                                                                                                                       �
                                                                                                                                                                                                ..
    centifuged sample. The resulting aspect ratio distribution curves                                               ·i--                                           . \·.    ..   .
                                                                                                                                                                                       :.�
                                                                                                                                                                                       .                \· . - .

    (Fig. 8) do not show significant differences. With the traditional
                                                                                                                                                                                                        ..�- ··.""'
                                                                                                                                                                      . ..                 .. . .
                                                                                                                                                                                                    .· . . .
                                                                                                                                                                           ' ·                      .     '
    method, 69% of the amphibole particles have an aspect ratio of                                       ·:'   .


    3: I or greater, whereas for the centrifuged samples the value is                    •.-

    64 % , a variation which is not significant. The differences shown
    for 5: I and I 0: 1 are probably due to the limited number of par­                FIOVRE 5. Panicle of amphibole in centrifuged sample/. Width of view O.o?
    ticles measured, in this test 100 particles in each sample.                          mm and 1.�84 refractive index liquid. Particle is on a membrane filter.




                                                                                                                                                                                                              JNJ 000241180

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                                            AMPHIBOJ.£ CONTENT OF TALC                                                                                              229
6




                                                                                        �

                                                                                       80




                                                                                       70
                                                                                                i

                                                                                       60




                                                                                       50

                                                        Tole 1
                      �            -----               Tremolite    Clllbe5tos
                     40                                                                40




                     30                                                                30




                                                                                       20




                                                                                       10




    FlOUR£ 6. �n:ent amphiboles in each aspect ratio group for talc sample I Oeft) and M (right) compared with tremolite asbestos ( 7) and tremolite (nonasbestifonn)
       (7).



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                                                                                      FlOUR£ 8. hrtent amphiboles in each aspect group for a sample handled in
                                                                                         two ways: solid line shows results usingiJ'aditional method and dashed line
    FIGURE 7. Panicle of amphibole in centrifuged sample M. Width of view                shows results using c::entrifvgoe method. OiJncnsiom of 100 particles mr:asun:d
       Q(Jl nun and l.S84 refractive index liquid. Panicle is on a membrane filter.      for each curve.
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  'labl� 2. Summary ofsiu and aspect ntio data used to construct Ji1gure 8.   generally sees some particles showing bundles of fibrils which
                                        Size �                                removes any doubt about the nature of the amphibole.
  Method            S-IOem           10-JSem
  Traditional         57                26                   16                                            REFERENCES -
  Centrifuge          33                27                   38
                                                                              1. Food and Drug Administration. Asbestos Particles in Food and Drugs. Fed.
                                  Mean width, em     Meanaspectratio, em
                                                                                 Reg. 28: 27076-27081 (1973).
                Mean length, em
  Traditional         12.5              3.0                  4.4              2. Occupational Safety and Health Administration. Occupational Exposure
  Centrifuge          17.5              4.7                  4.6                 to Asbeslos, 1\'emolite, AnthophyUite and Actinolite; Ex�et�Sion of PaniaJ
                                                                                 Slay and Amendment of Final Rule. Fed. Reg. SS: S068S-S0681 (1990).
                                                                              3. Occupational Safecy and Health Administtalion . Hazard Communication;
                                                                                 Final Rule. Fed. Reg. 25: 53280-53348 (1984).
     Further, the results from this study demonstrate the utility of          4. McCrone, L. B. Analysis of Thlc by X · Ray Diffraction and FOiarized
  the centrifuge method not only for obtaining a count of particles,             Light Microsc:opy. NJOSH Rqlon, Contnlct 21(}.7S-0063: 0-41, National
  but also for obtaining infonnation on the shape of particles in a              Institute of ()c(;upational Safety and Health, Cincinnati, OH, 1'177.
                                                                              S. Blount, A. M. Detection and quantification of asbestos and other tm:e
  population. It should be emphasized that the aspect ratio curves
                                                                                 minerals in p:IMieml industrial-minelal samples. AIME Process Mineral.
  determined for samples Iand M would have been vinually impos­                  9: SS1-S10 (1990).
  sible to obtain using the FDA procedure. The determination would            6. Troger, W. E. Optical determination of rock-forming minerals. E.
  have required examining over 3000 FCN. As indicated previously,                Schweizerbatt'sche Verlagsbuchhanlung 0-188, Stuttgart, Germany, 1979.
  many talc flakes on edge appear to be fibers and must be examined
                                                                              7. Campbell, W. 1., Blake, R. L., Brown, L. L., Cather, E. E., and Sjo­
                                                                                 be!g, 1. 1. Selected Silicale Minerals and Their Asbestitorm \Vieties. U.S.
  during such a scan, making the whole job impossibly tedious.                   Bureau of Mines Information Circular 87Sl: 0-56, Pittsburgh, PA, 1977.
     Finally, even in those cases where one may wish to use the stand­        8. Campbell, W. 1., Higgins, C. W., and Wylie, A. Chemical and Physical
  ard 100 FOV count, the centrifuge method offers a way to screen                Characterization of Amosite, Chrysotile, and Nonfibrous Tremolite for
  samples between those times when a more lengthy count is made,                 Oral Ingestion Studies by the National Institute of Environmental Health
                                                                                 Sciences. U.S. Bureau of Mines Repon of Investigations 8452: 0-63,
  and it permits a double check ofvalues so determined. In addition,             Pittsburgh, PA, 1980.
  the tendency to bring down a disproportional numberoflargerpar­             9. Wylie, A. G. Relationship between the growth habit of asbestos and
  ticles has the advantage that with true asbestiform amphiboles one             the dimensiolw of asbeslos fibers. MiniJii Engineer. 40: 1036-1040 (1988).




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              Exhibit 11
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                                        CYPRUS ORE RESERVE EVALUATION
                                                   PRELIMINARY SUMMARY
                                                                 R. C. Munro

       _
            INTRODUCTION


            A complete evaluation of the CIM talc reserves is                  underway, but has emerged   as

            a    morecomplex task than anticipated. There are eighteen mining reserves to
            assess with at least four ore quality factors’ to evaluate in each case, and data

           _available from CIM is not always clear. It will take till.May 15 to complete this
            project. Two U.S.B. senior geologists have been conscripted part time for
            independent reserve calculations on the more important talc deposits.

           The following is a summary of our thoughts to date.


            GENERAL


           We have been working with Philippe Moreau of Talc de                     Luzenac, Ernie Reade of
            CIM and the CIM geological                staff to determine:
            1)          How closely the real mineable ore reserves match the                geologic resource
                        numbers that have been carried by CIM.


           +2)          The tons of ore. (and years of: production life) that are remaining in the

                       ‘ground at the various reserve sites and the ore qualities available in
                        proportion to the ore requirements for the various CIM milled products.


                 «                                           quality.
                     'Tale content, brightness, impurities and




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           3)      The related       ‘problems that exist in terms of environmental concerns,
                   permitting, mineability and liability at each mining site.
           So far, our reserve       estimates in.tons of mineable proven and possible         ore differ in

           some areas from CIM’s         figures. These comparisons appear on the summary sheet,
            page 3, with comments.


           Hammondsville and Beaverhead appear to have                no   significant economic value as
           reserves.   The usable tonnage at the Troy deposit is substantially reduced. The
           ‘Hamm deposit needs more detailed study before its future value is understood.
            Significant additional potential may exist at Argonaut. Yellowstone South Forty has
           major potential for-significantly increased reserves and reduced stripping ratios.

           Matching all types and volumes to various CIM milled products in some sort of
           material balance sheet has proven more difficult than expected. CIM data is hard
       _
           to quantify and has required constant adjustment, as CIM staff strive to educate

           us   in their rather    complex “ore to product” paths. At this writing, the tonnages
           used and the role of        imported.   ores need to be clarified.      In spite of a significant

           effort and some surplus staff, the Cyprus organizational system has not enabled a
           clear, consistent overall picture. of current ore reserve usage to emerge and. be
           transmitted to.      anyone Cyprus itself
                                         -
                                                         or a   potential buyer.

            Some problems with several of the mine reserves sites have emerged.


            Fibrous minerals      - tremolite and actinolite are ubiquitous in several zones of the

            Vermont mines. The potential problems involved with fibre in dumps, and to some
            degree in products, must be carefully evaluated.




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                                                                                      ORE RESERVE COMPARISON

                                                      “GEOLOGIC                             MINEABLE
                                                                                        Proven & Probable
                                                                                                                                                                    COMMENT
                   MINE                         CYPRUS               BORAX           CYPRUS           -



                                                                                                          BORAX
                                                (asof 12/3190)   |




         Talc

         Holmes/Ward, AL                                                                 75,000|                75,000| hard rock reserve
  |Argonaut, VT
             VT East
         |Argonaut,
                Main
                                            |
                                                      -


                                                                 |
                                                                                       -




                                                                                      3,775,000!
                                                                                                  |                  good           potential
                                                                                                                                      but little data an inferred reserve
                                                                                                           3,000,000/ high stripping costin early years_
                                                                                                                                                                    —



                                                                                                                                                                        — DRILL?
     |Black Bear                            |                                                              1,300,000|a viable reserve.
         Clifton                            |                                                                300,000]rreserve
                                                                                                                       eserve not checked for mineability
                                                                                                                               not checked for mineability
     Frostbite
     [Hamm                                                                                                 1,952
                                                                                                                000] unmineable                                                    —
                                                                                                                               need.additional data to assess this reserve As & fibre
                                                                                                                                                                                       — DRILL?
         Hammondsville                            4,727,009
  |Kelley
     |


         Newfane
                                                                             _|
                                                                                 |




                                                                                 |      390,000}
                                                                                                            500,000 [possible
                                                                                                                      prospect possible
                                                                                                                               a
                                                                                                                                         reserve
                                                                                                                                            —

                                                                                                                                                            reserve
                                                                                                                                                                                                  |

         Rainbow                                  1,416,000                            1,116,000)                          needs further financial evaluation
                                                                                                                                                              DRILL?
                                                                                                                                                                        —
                       _.
                                                                 |




         Troy                                     7,200,000/                                                                 problem reserve
 |
                 MT
         Beaverhead,                                                                                        -
                                                                                                                               not a viable reserve at     today's prices
             Claims         .

                                            |                                    |
                                                                                                                '58,000|   prospect— possible             reserve

     [Yellowstone               —
                                    S40                                       |
                                                                     14,802,000       6,814,000|                           recoveryproblem but good ore body with. excellent
                                            |                                    |                |                        |   additional potential—
                                                                                                                                               DRILL?
         Yellowstone — N. Main]                                        962,000   |
                                                                                                            933,000|           mayphase out with S40 development                                  |
     [Yellowstone               —
                                    Other            473,000|          N/D             -


                                                                                                  |        unknown| no             significant
                                                                                                                                  reserve potential apparent
     | KR Prospect, CA                               280,000|                                     |
                                                                                                                    a prospect in sensitive area
     [Red Hill/Main                         L                          375,000   |
                                                                                                            1
                                                                                                                               adequatetonnage for needs
     |
         Van Horn, TX                                 -                                 -                   -
                                                                                                                               not reviewed      —

                                                                                                                                                     poor quality
                                                                                                                       4                                                                          ]

         Chiorite

     |   Antler
         Cottonwood
                                                                                 |      280,000
                                                                                                  |
                                                                                                            275,000| actual recovery needs to be defined
                                                                                                                   [low brightness prospect
                                                                 |               |




     |
         Fair   Lady                        |                    |                              |                  [untested
     [TOTAL                                     -54,554,009| 28,628,000




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             Arsenic minerals, both insoluble sulphides arid the more soluble arsenateminerals
             are problems that
                                                                           product
                                 restrict productivity in an effort to keep.         under 3 ppm
             soluble As. in the West Windsor and Johnson Mills.   High    arsenic restricts product
            ‘acceptance and lays a basis for future possible environmental and permitting
             problems.
             Also in Vermont, the    underground Windham Mine has been identified as.the site-of
             a
                 PCB transformer left on the second level ofthe flooded workings.

             Permitting is ind ispute the Ludlow East Argonaut operation where Stripping and
                                         at

            mining     underway. At the major riew reserve in the Ludlow area, the East
                     are

             Argonautzone, the mining permit has been challenged by a nearby homeowner and
            supporters.
            Ore stock piles in inventory need thorough checking. Troy ore stockpiles are
            described in     inventory
                                  -as 93,000 tons. Operations staff claims 70,000 tons of             -




        “which only 11,200 tons are judged to be suitable for current Johnson mill feed,
        with perhaps 13,000 tons of fines when dry. Johnson Mill inventory is given             as

            7,000 tons. Plant Manager Ed Wissle says 3,500 tons. This degree of error at
            Troy-Johnson suggests thatall stockpiles be investigated before the ore stockpile
            inventory values are accepted. Stock piles inspected. at Alpine appear to meet
        _
            claim.


            WESTERN MINES
            California


            The. small, butaggressively managed, Western Source operation produces limited
            “use dry ground product for roofing shingles from the Red Hill Mine. The Red Hill




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                   deposit is a tabular deposit of taic carbonate schist some 50’ wide with 20’ of
                   better grade material.in the footwall. It is estimated to be over 1,200’ in length
                   and dipping =50° to.the NE. The deposit runs avout 50-60% talc with higher talc.
                   content in some. areas of the narrow footwall zone. Fe oxide stains the more
                   shallow   ores. GEB on currently mined         ore                       ceramics
                                                                        runs 75% (too high in iron for
                   and not    bright enough for paint). CIM calculates amineable reserve of 366,000
                  tons.  USB calculation provides for a similar tonnage of 375,000 tons to a depth
      .



                  of 100’, although this may require a stripping ratio of greater than 1:1 to              access
          |




                  the better talc.       -



                                             XRD analysis sheets examined showed no fibrous minerals
                  detected in the Western Source product.

              -




                  An additional       undeveloped reserve of talc carbonate schist is held        on a   lease in

                  force until the year 2009 at the KR property. Trenches and several drillhoies have
                  generally indicated a large zone of banded talc carbonate. schist with bands of
                  micaceous schist quartz veins. A small area where soil was stripped in the past
                  has been recovered. The KR
                                                property offers a 300, 000-ton potential, providing
                  future urban development in the area permits the opening of a talc mine at this
                  location.

                  The   Toyon      permitted andina reasonable location access northern
                                   Mill is                                           for        to the

                                  and there been
                  California market                 has  half-hearted experimentation
                                                                some                     milling    with

                  “Montana ores’there         expanded market line
                                               for an                          Source products.
                                                                                 of Western

                  Toyon might also treat any Nevada chlorite developed at Fair lady in the future if
                  it could be economically transported.



                  Other California deposits include the Talc City claims, claims near Death Valley
                  (sites of past production) and Eagle deposit in SalineValley currently intermittently        Hi


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                                      LOCATION OF C.I.M. PROPERTIES
                                        CALAVERAS COUNTY, CA.
                                                       0                                                5 MILES




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           produced by a minor lessee. None of these offer valuable reserve potential,. but
           some may have a glimmer of
                                       environmental liability with stockpiled tremolite rich
           ores. Reade promises a report on these locations.
                         |




           Montana

           Yellowstone.        South Forty

           CIM’s most important (western) talc reserve is the Yellowstone South Forty pit.
                                                     by more than 100 drill holes (assay
           Recognized in 1987 and subsequently explored
           data on about half of these). The reserve emerges as a major world talc resource.


           The CIM ore reserve calculations            completed and reassessed in Januaryof this year
           indicate reserves as follows:



           Geologic Reserve of 9,477,000 tons of which 6,813,943 tons are classified as
           proven and probable mineable tons at a waste to ore ratio of 4.5:1. 75% of this
           reserve is
                              to be. of ore grading + 90% talc.
                      estimated

           Further, CIM have estimated a Recoverable Reserve that accounts for            mining    and

       _
           sorting plant recoveries. .This is accomplished by the application of recovery
           factors of 30% to 66% on each of the 12 ore.types in the reserve calculation. CIM

            estimates the “recoverable reserve” at 3,898,220 tons of total "recoverable talc”
            or 57% of the mineable reserve. This is an approximately 22 year mine life at
                                                                                          the
            current consumption rate.




                                                                                               |




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                             Subject to Protective Order                                           IMERYS 425360
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         USB’s independent ore reserve calculation has identified a proven and probable
         mineable reserve 7,131,370 tons at a 5.09:1 waste to ore ratio               a
                                                                                          within,
         15,000,000 ton geologic resource.

         Recoverable reserves for us become a problem with the acceptance of CIM’s
         theoretical, calculated 57% recovery factor which is not             supported by ‘recent
         recoveries of concentrate in the mine and sorting plant.

         Based on annual production records,           pages 10-13, recoveries concentrate (to
                                                                             of                  the
         mill) from ore to the        sorting plant during 1989 (21%), 1990 (29%) and 1991.
         (26%)   yielded weighted average of 23.5%. Corrected 1991 figures for
                                a                                                            sorter         <

         recoveries were provided and indicate a 30% recovery for 1991, see flow            sheets
         page 15-17. Applying a 30% recovery to the 7,131,000 ‘mineable reserve                     =




         2,139,000 tons of recoverable talc concentrate, -10 year mine life at current
         concentrate production rate. On this basis, recoverable talc is 5.0%.of the total
         rock mined (ore and waste); the approximate average mined tons to product tons                 .




         ratio for the past 10 years, see page 18.

         When asked about the large discrepancy between the actual historical recoveries
         and the     newly calculated theoretical recoveries, CIM staff indicated that they
         expected and calculated: better recoveries for the future as production moved into
         the newly opened high grade faces of the.South            Forty
                                                                  pit.

         Inspection of the drill sections confirms the view that substantial tonnage of high
         grade talc lie: in the current South Forty pit floor. However, much of the plant
                     screenings (38%)
         losses are in                and unless most these were sold CIMCOAT
                                                                  of                 as

         or
              MISTRON products, it unlikely that the projected 57% recoveries
                            I               seems                                              will




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                                                                                         END OF MONTH REFUAT                                           DECEMBER 1991
        AINE PRODUCTION                                                                                              JUL                   AUG           SEP          oct             NOV               DEC               YTD                    1990
                                                                                                         JUN
                                    JAN             FEB        MAR            APR         MAY
                                                                                                                    294,907 260,358                     297,223       348,404     283,816                            2,653,262 3,343,600                         471333:
                                                                              113,459    245,380                                                                                                                      422,642 400,452                             50535
        {ASTE                   79.221
                                                                                                                                       22,261             8,289                        4,531             3,076
        ‘ONE                     59.487             62,606
                                                               68,406
                                                                               «BaesS
                                                                               56,548     70,696         64.091      58,908                58,417        40,150        61,872         38,615                             674,737                                 1 002
                                                                                                                                                                                                                                                                  41
                                                                                                                                                                                                                                                                         79:
                                 73.511             66,061
       “RE
        ‘HED FD/STPL              1,682                    0     801                0        2:589       3,939          457                      96      2,368                o   .
                                                                                                                                                                                                   .




                                                                                                                                                                                                        24,595           686,153                 619,500
                                                                                                                                                         20,374                       33,527
                                                                                                                                                                                                                     -




                                                                                                         44,253      52.424.               50,225                      65,184.
        1S FDISTPL               65,060             59,085     64,027                     58,029                                                                                                                          69,535                                 27
                                                                                                                                                                                       4,608
                                    2,976            4,814      3,4780          5,178                    5,689        6,027                 8,096         9,280         6,688
                                                                                                                                                                                                                                       |!
        (9 FD DIRECT
                                                     2,162                          0            0              0                 0                0             0                       480               654.           \ 7,089                            0
        RECT SHIP               .
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               MINED
                                                                                                       SOUTH FORTY PIT
        3OUTH FORTY                                                                                                               o                b             Ox.                         OL,
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        IENGH 6126                  47,169          11,767
                                                                                                                                                                         eco                                    0!       608,550
        \ENCH                                                                  96,909                                 2,098                83,489
                                                                                                                                                         69,376
                                                                                                          9.75}      10.914
        \ENCH 6075                  13,656
                                                                                                         14,944      36,720                92,822        69,142        51,479         6,263                   “of
        \ENCH   6050                                                                                                                                                  wee,                                                                  ON
                                                                                                       NORTH FORTY PIT“
                                                                                                                                                                                                                                                         |




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        \ENCH                                                                                                                                                    0            0              0                            219,242
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 '      JENCH    6200                      0        29,728     127,226
                                                                                                         49,734           9,209                    0
                                                                                                                                                           1.°                a              0                  0         99,249
        JENCHE6I7TS                                  4,089                      6,208
                                                                                                                          7,488
                                                                                                                                       |

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        3ENCH
        NORTH MAIN
                                                    _                                   va
                                                                                                       NORTHMAINPIT
                                                                                                                                  a'                             0                                              0         34,670
                                                                                                                                                                                                                                            UP?
                                                                                             20,7822                                                                                                            0
        3ENCH 6140                                                                                                                                 o                          a                0
                                                                                             55,830     257,769     162,304
        JENCH EMIS
                                                                                                          7,426     124,299                242,811       82,240          4,904                 0         10,590           482,290
        3ENCH                                                                                                                               41,950       58,585                        2,373                    0         206,144
         3ENCH6065                                                                                                                                                      59,599        166.850            47,375           292.632


                                                                                                                                                                                                        sae|
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        3ENCH60I0                                                                                                                                                             o
        3ENCH.6015                                                              14,836                                    0   -                                  0
                                                                                                                                                                                                                                                                   22153
        fOTALMINED                  362,219         301,344
                                                                                                                    361,512                341,036
                                                                                                                                            17,020
                                                                                                                                                         345,662     | 442,417        326,962           225,701          3,050,64} 4,501,422
                                                                                                                                                                                                                          178,644                200,110
                                                                                                                     14,019
        TONS PRODUC)                 16,967          14,255                                                                                                                                                                   26%                24%                   214
        "JTRIPPING                                                                                       25:1        25:1                   19:1          24:1         25:1                              20:1                 ait                 22:1             28:1.
        AATIO                       20:1            20:1        7:4
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                      MINE PRODUCTION
                                                                                                   END OF MONTH                REPORT              JANUARY 1999
                                    JAN                 FEB              MAR     APR                 MAY                                                                                       1992
                       WASTE      "208,014                                                                      JUN            JUL           AUG    SEP            OCT           Nov
                                                                                                                                                                                                               JAN
                                                                                                                                                                                       DEC    YTD
                                                                                                                                                                         -




                       DONE                                                                                                                                                                                    1991
                      ORE          33,713                                                                                                                                                      208,914.     22929)




                                                                                              mo
                      DIRECTSIAB                                                                                                                                                                 2.514
                                                                                                                                                                                                             59.487.
                     MSMSFDISTPL   20,438                                                                                                                                                      $3,719
                        FD DIRECT
                                      768                                                                                                                                                        25a            aA
                     DIRECT sip     8.215                                                                                                                                                     20,438        65,060      .
                 _
                     OTIIER PILES  3,036                                                                                             4
                                                                                                                                                                                                  768       2:976
                     MITALC MINED   2.048                                                                  So                  co"
                                                                                                                                                                                               9.215         3,792
                     SOUTH FORTY                                                                                                                                             .
                                                                                                                                                                                               3,036          NIA
                     BENCH 6075                                                                                                                                                                 2.048
                                          22.541
                                                    |
                                                                                                                                         .




                     BENCH   6050         46,281
                     NORTH MAIN                                                                                                                                                               22,541        13,656
                     BENCI1 6090          15,632                   -




                                                                                              CO
                                                                                                                                                                                               46,201               0

                     BENCII
                     GENCHiG.40      .
                                                                                                                                                                                              15,632.           0
                                                                                                                                                           .




                     BENCH 6015
                                         113,925                                                                                                                                                                0
                     BENCH5990
                                                                                                                                                               :




                                          46,762                                                                                                                                             113,925
                                                                                                                                                                                                    0




                                                                                                                          co
                     TOTAL
                             MINED
                     TONS PILODUC}       18:586
                                                                           og.        0                             0            0
                                                                                                                                                                     0                       46,762
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                                                                                                                                                         _—ODE.
WS/ISPS PRODUCTION                                                       JUN              JUL       AUG          SEP         OcT            NOV
                “JAN           FEB       MAR       APR         MAY
                                                                        39,099           47,352    48,617    ‘29,952         60,098        38,905        26,113
                             58,044               59,075                                                      13,386         17,000        13,443
FEED           56,201,
                             14,201    13,855                           13,810           13,905    17,020
 PRODUCT       41,940
                                                              17,465
 SCREENINGS                  5,564      3,230      2,635       2,285     1,645»                                    Mo




OVERSIZE       4,420                   25,086      17,036     16651     11,983           12,843    12,474        2,087       13,738
WASTE                                                                                                                                      17,768                                      298,159
                                                   25,457     25,744    23,108                                                                                         |




                                                                                                                                           11,451          9,037
ISFEED                                                        13,110    12,744                     15,576 12,611                            8316           2,879                       181,833
                                                                                                                              9722.
 MSPRODUCT      9983
                                                              12604
                                                                                                                 1,130
                                                                                                                                60%                          76%
 MS WASTE                                  38%          52%      51%
                                 49%
RECOVERY                                                                                     7.3       86         10.6          88            170.0         03                  7.9         3.6
                                                        76        65     .
                                                                                                             .




  HOUR                           76.
                                                                                                                                             6,398         4,086            57,606      136,008
                                                                             2,686         1,587     2,758                                                                  21,803       939,764
                                         8,087                                                                                ~—Ci«“i«CF(‘iSOS.
 SPS FEED                      4,045
                                         2,318      3,162      2662.         1,066           404     1,444                                                                  ~S5,803         194
 SPS PRODUCT      1,947        2,862                                         1,619         1,163     1,315         957         4,016         3,408         2,770
                                                                                                                                                                                36%        20%
      WASTE                    2,093     6,871      4,705       4,017
                                                                                             25%      52%          45%          32%            37%           32%
 SPS
                                                        40%       37%          40%   -




                                                                                                                   11.8              a6.       46            4.0                6.3          4.2


                                                                                                                   sep                        NOV           DEC               YTD          1990



                                                                                                                 2,082                0             0              0          7,600
                                                                                                                    204               0                                       2,541
                                                                                                                   4,788                            a:             0         4,662         8,574
                                                                                                                         0       -                  0

                                                                                                                     14%                       0%                              33%
                                                                                                                     .6*             0.0       0.0                               22-          3.2




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                                    (          ST      vow Recitutw
                                                       Exhibit Exhibits 9-11 to Satterley Declaration Page 72 of 98
                                                                                        eS                            eCOn}                                       OTT”
                     MS/SPS PRODUCTION                                                               JUN       JUL                         ‘OCT           NOV"     DEC                          1990
                                 JAN. FEB                         MAR          APA      MAY
                                                                                                             54,909                        56,706        37,698   24,939                  .


                                                                                                                                                                                               672,982
                                                                  64,627               52,173       46,232
                                                                                                                                                     -



                                                                           56,174
                 FEED                        56,391    58344
                                                                                                                                 13,386
                                                                                                                                                                                                        ?




                  PRODUCT                    11,940    14,201     13,855   16,288      15,772       13,810   13,995                        17,000        13,443   10,353                      156,200 2
                                                                           23,116                   11,601                                                                                    ‘222,623 23°
                 SCREENINGS                  22711     24,756     22,476                                                                                                        22,259         42,361       7
                  OVERSIZE                    3,420     5,564      3,230    2,635       2,205
                                                                                       16,472
                                                                                                     1,645
                                                                                                    17,981                                                                     183,138                  37°
                                                                           14,135
                  WASTE                      18,320. 13,823       25,066

                                                                                       25,744                26,718   26735      13,741    27,218        17,766   11,916       276,658        296,159
                         MS FEED             25,242     23,079    29,934   25,457                   23,108
                                                                                       13,110       12,744   13,591   15,576     12,611    15,133        11,451    9,037       149,260        116,436
                         MS PRODUCT           9.993               11,539
                                                                                                                                                                               123,688        181,833
                                                                                                                                                                   2,879




                                                                                                                                                                           ©
                                                                           12,331      12,634       10,364
                     MS WASTE                15,249
                         RECOVERY              40%                  26%       52%         51%          54%      49%     58%        92%        56%                    76%             ~
                                                                                                                                                                                   56%            39%

                         TONS/SORTER                                 57                                7.0               86        10.5       8.8          10.0     10.3           79
                         HOUR                   6.3        76              .
                                                                                 76

                                                                               7,887    7,148                          2759       1,732     65,883        5,398    4,086
                                                                                                                                                                                Be.088        138,008           ani
                     SPS FEED
                                                                                                                       1,444        775.    ‘1,867        1,992    1,316        21,803         39,764       \$IC
                     ‘SPS PRODUCT
                         SPSWASTE
                                                                               3,162
                                                                               4,705    4,486   -
                                                                                                                       1,315        957     4,016         3,406    2,770       36 272          97.194   302°
                         RECOVERY:      .
                                                                                                                        52%        45%         32%          37%
                         TONS/SORTER
                                                                                                                        11.2       11.8       8.6           46       4.0           63             42
                 _
                          HOUR

a
Wo
                                                                                                                       aua                   ocT           NOV                   YTD             1990

                     _   SHED   PRODUCTION|                                                                                0      2,082         0                                7,470.
|                        FEED                  1,872       66       eet           78
                                                                                                                           0      204           0                                2541
                         PRODUCT              ‘1,204       5412     501           60
                         WASTE                   168                 69           18                                       0
                                                                                                                           0
                                                                                                                               - (1,788
                                                                                                                                      o
                                                                                                                                                0
                                                                                                                                                0
                                                                                                                                                                                 4662           8,574

                     SCREENINGS                             0.      207            0
                                                                                                                         ow         14%                                           33%            53%
                      RECOVERY                  Ba%                 57%




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             be realized without other         changes. Nothing     we   in the Yellowstone
                                                                             have seen
            “recordswould suggest past mechanized sorter recoveries in this range.


             Projected ore types within the Yellowstone $40 are as follows, with a +90% talc
             ores at +82     GEB, comprising 66% of the deposit.

                                                                                               %Total    -




                     +90% Talc                         +   88 GEB               684,600            .6%

                     +90% Talc                         82-87 GEB               3,480,050



                                                                                                3.6%
                                                                         |




                     40-90% Talc                       8287GEB
                     +90% Talc                ‘Unknown brightness    | 1,540,350



             Dramatic potential for increased reserves exists with approximately 2 million tons

            within the planned pit, offering decreased stripping ratio and outside the planned
                                                   a

             pit there is, in the north extension and at depth, the potential for another 5 million
            tons.



            Additional potential for new ore probably exists in aparallel N-S zone to the west
        _
            of the known S40 ore body. This could bring the potential Yellowstone reserves
            to the 25 million ton range (see page 19)..




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                                          PERIOD
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                                                YELLOW STONE
                                               MINE    PRODUCTION


                     | tons | os [ tons                               [Tons |
        one ass.s76 ao.6s_| 93,066][sone
                                      an,706"
       one asse[as[ate
  TOTAL MINED                                           1,743,343
                                                                                       |
                                                                                            676,369
                                                                                              7,089
                                                                             Total Ore      683,458.

   |
                                  |




                                             Total Rock Mined


Ceram                                        | ease]



       TOTAL W/O     Incl.bone as                       4.79:1   .




                                waste




                                                                           RCM




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                                                                  PERIOD          91 2ND      FIGURES
                                                                      YELLOWSTONE
                                                                      MS/SPS PLANT




                                                                  _
                                                                                                |




                                                                      U4
           ORE FEED TO SORTERS
                                                                                              TONS        % OF ORE MINED IN PERIOL



             SCREENINGS                                                                                                               TO SPS


                         43, 50?                                                                      54539
          tons                                    Tons                                     TONS:__272,948                         TONS


                                                                                              een Gio
             en
          % FEED         397                      % FEED fe                                % FEED                                 %
                                                                                                                                      FEED   lo’
                                                                      /                                              ~
                                                                                                                                      -




as   fe
      mod
                    <                         \ 37%
                                                         .




                                                                                                                             Ol %
           IF
      fuoren                                                                                         W 6G             330,554
                                                                                                                     Total Feed
                         MS


     PROD.                                         REJECT


                  BOR]                              |
                                                                                                                             1OlFR
 TONS                                       TONS
                                                   —123,688                TONS                            TONS

 *
        4 %
 store 206 8%
      PEED          GST,
                                            sree 227
                                              7




                                              Meo                 ih FEED
                                                                 Yat                     7?
                                                                                              Ve
                                                                                                 spare     %
                                                                                                               MS



           TOTAL
            °    PRODUCT
                                            wayne                                 ‘TOTAL   REJECT
                                                                                                          Pad
                                                                                                                LO
                                                             |




                                                                                                          %7/
            tons
            % SORTER
                  FEED
                                  52%
                                        FIL
                                         SO
                                                                                  tons

                                                                                  % SORTER
                                                                                    FEED
                                                                                                    48%    ba
             sort                 308 76°                                         SIRE.                                      Co
                                                                                                                      RCM
                                                                                                                         |




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                                                   PERIOD                      1ST FIGURES

                                                    YELLOWSTONE
                                                    MS/SPS PLANT

       ORE FEED TO SORTERS                       597,107                                   TONS 88 %    OF ORE MINED IN PERIOC




          SCREENINGS                                                                         TO MS.                       TO



   tons                               rons                                         Tons276,658                            TONS 58,088


   % FEED          36.39       =
                                          FEED                                     ™       FEED 46.33                     FEED 9-37


                                                                                                  '
                                                                                                      334,746
                                                                                                      Total Feed




  PROD.                                   REJECT


rons                               tons   _123,688__- tons_21/803                                     Tons

                                   % TOTAL                   % TOTAL                                     % TOTAL
% TOTAL                                                                                               Cté‘iOSCs~BD
  FEED                               FEED                     t—“<i‘ié‘«rEED

%. MS                              *MS                       % MS                                       % MS
                                                                                                          FEED
   FEED                              FEED                      tC(‘éaEED




       TOTAL PRODUCT                                                       TOTAL REJECT

       rons                                              |
                                                                           Tons   159,950
                                                                         “™@soRTER            48%
        span 52%                                                           *




       et                                                                      TOTAL
           TOTAL                                                               FEED
                                                    SO
                                                             cli-                      |
                                                                                                                     RCM
                                                                                              |
                                                                                                                     |




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                                 YELLOWSTONE   MINE PRODUCTION



             YEAR
                         °

                                        TOTAL TONS MINED                       TOTAL   TALC. PRODUCED
                                                                                                            ‘CASH -COST
      *   1950   -
                     1954.                                              ain
                                                                         *
                                                                                         20,000     “16.41
          1955                                       213,000                             36,000
                                                                               5.main Pt “7,000
                 -

                                                                    *                                7.07
             1961                                     41,000
      «                                                  47,000                           8,000      /7.02.
      *      1963                                         59,000                         10,000
                                                         71,000                          12,000     /6-70
             1964
                                                         89,000                          15,000      /6-85
             1965
             1966                                        118,000                         20,000
                                                         148,000                         25,000      /6.87
             1967            -




             1968                            *           197,000                         33,206
             1969                            *           277,000                         46;752      16.92
             1970                            *           306,000.                        51,665      16.38
             1971                            *           320,000                         54,098
             1972                                        267,581                         53,110      /9.85
             1973
                                                                                         63,239.
                                                         469,908                                     16-70
             1974                                                                                    10./6
             1975                                        405,862                         73,510      13-26
             1976.                                       554,431                         94,180          10. 64
             1977                                        885,514 NM +oM
                                                         861,728 |                       (98,055.
             1978
             1979                                        669,492
             1980                                                                       102,929
                                                                                         99,230          5.24
             1981                                1,892,258                                               5.53
             1982                                1,643,215              Main             90,936
                                                                                         75,000
             1983                                  g19,0004|                                             4-52        55
             1984
             1985                                                                      137,000
                                                                                       “440,000.          44+
             1986                                3,154,000 “aut                          109,000          3-24
             1987
              1988
                                                 2,838,000
                                                 4,026,000                te.            103,000
                                                                                        212,000
                                                                                                          2:56
              1989                               6 222.000
                                                     ,
                                                                                                          4.36
              1990                                                                       200,000          +.5
              1991                               3,951,000                                           .




                                              40, 431,000                              2,551,000


           ESTIMATES




                                                              Figure 4.1
                                                             -18-

                                                 ;


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                                                              KAY CLAIMS.

                                                            Cyprue Ungat   c




                                                           KAY CLAIMS
                                                                                   .




                                                           Cyprus Unpai claims)
                                                              BONANZA
                                                               CLAIMS




                                                                               —
                                                                                         POCO CLAIMS
                                                                                               34
                                                                                         Cyprus Minerals Co.
                 Westment Unoatciaima
                                                                                       US (CyprusUnpat ciaims
                         BONANZA




    Burlington Northern, inc.   .


                                                  BALI?                                 Burlington Northern, inc




                                    YELLOWSTONE RESERVE POTENTIAL
                                                       ~




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             Yellowstone North Main Deposit


            The North Main open pit exploits a north-south striking, west-dipping tabular
            deposit of relatively pure talc. The deposit has suppliedmill feed for the past 10
             (?) years and carried theYellowstone operation during transition of        mining from   the
            South Main and North Forty to South 40 pits.Currently, sizable percentage
                                                                                 a                     of

        |
            the light-colored talc mined
                                         Yellowstone is extracted from the North Main pit.
                                                at

            The North Main deposit will continue to be an important source of high-GEB                ore
                                    pit is fully developed.
                                                                             |




             until the South 40


            CIM has calculated a         geologic talc reserve here of 2.53 MM tons.      Of this total,
             they classify 1.07 MM tons as minable. After applying loses resulting from mining
            _and sorting, CIM projects 0.47 MM tons of combined recoverable product from the
                                                                                                            -




             North Main deposit. A waste-to-product ratio of 13.56:1 is anticipated. CIM hopes
             to recover 166,300 tons (36%) of product 39 (>88 GEB); 290,000 tons (62%)                          |




             of product 40/41 (82-87.GEB): and 9625 tons (2%) of product 50 (78-81 GEB).



             S.
            U.    Borax in-place ore reserve calculations for the North Main         deposit show 0.93
            MM. tons of combined minable talc at a waste-to-ore ratio of 4.20:1. Calculation
            of reserves were made by extrapolation of measured cross- sections upon which pit

            slopes, current topography and drill-defined ore zones were plotted. Since minable
            ore is intersected in only7 drill holes
                                                    having brightness analyses, it is difficult to
            saywith any certainty what percentage of ore will be suitable for specific products.
            Availabledata        only
                               shows that            projected ore
                                                        will         generally meet
                                                                              minimum product

            40/41   specifications (>82 GEB).




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            Beaverhead

           The Beaverhead       deposit is a narrow high grade talc seam exploited for its cosmetic
            grade talc for the past 20 years with the open pit reaching economic limits in 1987
            (when the w/o ratio reached 45:1). The past 5 years have seen continued
                                of the talc zone at depth.
           ‘underground development

           The 500’ long talc zone consists of a series of various lenses and bands of variable
            quality talc with magnesite and chlorite with          10’ to 40’   (average       thick
           meandering seams of high purity cosmetic grade talc grading 94% with an 87-92
           GEB, the basis for the current. mining activity.

           Production has declined over the past 5 years from 16,000 tons in 1989 to 12,000
           tons in 1991. Planned
                                  production for 1992 is 8,000 tons. Narrowworking faces,
           poor mine stability, back filling requirements, transport costs, small reserves and
           limited production rates make this increasingly expensive
                                                       an                                Costs.
                                                                                 ore source.
                                                                                                       -




           given vary from $107.00 to $115.00 per ton, probably $1 15.00 deliveréd to Three
           Forks mill. Beaverhead costs the Alpine Alabama Mill $175.00/ton.


           _Beaverhead ore is being supplanted by imported Australian          material delivered to
           Three Forks for a reported $125.00 per ton and to Alpine for $147.00/ton. | would
           be surprised if much of the          small remaining reserve at Beaverhead would: be
       -




           seriously considered for future mining.

           Remaining geologic reserves for Beaverhead ore          given by   CIM as 144,000 tons.
           Mine management estimates 61,000 tons of recoverable ore is available.




                                                            -21-




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                550’ strike length,
        Using     a
                                    a 16’ average width, a 120’ down--dip extrapolation,
         with 80% mine recovery and assuming 1/3 (east side) is chlorite low
                                                                             grade, yields        -

         a   59,400-ton reserve of which perhaps 25, 000 tons is available with minimal
         ‘development.




         Antler

         The Antler       Mine producesapproximately 10,000 tons per year for distribution from
         the Three Forks Mill.


         Ore reserves are        given
                                    143,000 tons of +90% chlorite (with estimated 80%
                                         as
                                                                             an
                                                                               recovery)
                                                                                                      |




         recovery) and 134; 000 tons of 80%-90% chlorite (with 30%                   with
         waste to ore ratio of 4. 4:1. ‘This provides a theoretical recovery of 50%.


         In 1991, 2,336          tons of +90% ore and 12,604 tons of 40%-90% ore yielded
         10,000 tons of          product for Three Forks indicating an overall recovery of 66%.
         However, normal waste and stripping was 136,190 tons yielding a 9:1 waste ore
         ratio and a 15:1 ratio of total mined rock to product shipped.

                    special.campaign stripping removed another 495,921 tons of stripping.
         In addition,
         Further work is needed to fully understand the material balance of the Antler ore

         body.




                                                        -22-.




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            CottonwoodCanyon
            At Cottonwood,. liminedexploration has outlined an interesting chlorite prospect
            with good tonnage potential given at 250,000 tons. Chlorite encountered so far
            is darker than Antler but could be used for blending.


            Fair Lady


            ‘This chlorite prospect near Lida Junction, Nevada was recently optioned. Although
             not an ideal location, the Fair Lady offers prospects for additional chlorite reserves.

                          —
            Vermont


            Two  dry mills and two floatation plants produce products from ore currently
            shipped from'5 mines operating at three Vermont locations. The ores from the
            producing deposits provide feed for the dry mills at Columbia and Chester and for
            floatation plants at Johnson and. West Windsor. Other             mining sites   that are listed|
            as Cyprus assets are in reality deposits that weremined’ in the past but are-now
            regarded as mined out or are uneconomic at this time or are undeveloped properties
            with some reserve potential for the future).


            -The area containing these reserves is all within the       Appalachian Ultramafic     Belt that

            trends N-S through the’ state.              In certain   areas,. these ultramafics host talc
        .




            carbonate rock      developed by    the alteration of     serpentine bodies. The talc bodies
            are ‘contained between footwall and. hanging wall quartz mica schists, and                  are


            typically found within the     of relict folds within the trend.
                                            noses




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        Talc alteration typically is strongest
                                            at the outer borders of the talc bodies and
         decreases.           gradationally inwards terminating rather abruptly at the boundaries of
         non-altered serpentinite. Within the talc bodies are                  found
                                                                   discontinuous. bed-like
         lenticular bodies of      and amphibole minerals, termed locally as "cinders", see
                                       chlorite
         sketch.



                                                           SKETCH
                                                                                  Areas of pass Woe
                                                                                       Coutnt   .




                                                                      Ccreas
                                                                      Vale centeat




         The ores vary in talc content and                 brightness based upon the degree of alteration
         and the   percentage of otherminerals present, particularly iron. These                ore   types are   .




        classified into A,B,C
                         -




                                           ores.   (rock   types 10,20,30) based on talc content with
         attendant           brightness estimates.
         Deleterious minerals present in the bodies include arsenic sulphides, metallic
         arsenates, iron and fibrous minerals, principally tremolite and actinolite.




                                                              -




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                                 Ses TROY MINE     ©
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                                                    HAMMONDSVILLE
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              el
                  COLUMBIA MILL
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                                   CYPRUS TALC OPERATIONS-VERMONT
                                               |




                                                                       APPALACHIAN ULTRAMAFIC TREND

                                                                                   AC

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         Arsenic sulphides and arsenates encapsulated in. talc              grains   are found
                                                                                                 in varying
         degrees from deposit to deposit and appear to be concentrated in the structurally
         distributed zones, shears and fractures according to Cyprus staff.


         Fibrous   amphiboles are            noted in footwall and hanging wall   zones and in grey talcs
         near these areas;  they are also found within and bordering some of the "cinder"
         -zones and at the contact zone with serpentine.



         Ore   Requirements

         The desirable qualities of the            ores include:

                  1)          adequate tonnage
                2)            low stripping ratio and economic mineability
                3)            high talc content (for wet mills particularly)
                4)            talc quality
                5)            high brightness
                 6)           low   arsenic
                 7)          zero fibres in ore to mill
                 8)           proximity
                                     to mill

         The reserves of the             Cyprus Vermont talc deposits.   were   reviewed in regard to the
         above.


         Troy Mine.

         The   Troy talc deposit is mined solely to provide ore to the Johnson Mill whose
          +70,000 ton ore               requirement is made up of about 50,0000       tons per year from




                                                               -

                                                                    -
                                                                   26




                                                           |




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            Troy and about 20,000 tons per year from the Hamm mine, see below.. Troy ore
            recoveries and brightness are too low to be the sole          raw material
                                                                                         used. The Troy
            deposit is located some 15 miles from the Johnson mill and the cost of transporting
            the                        at
                ore is estimated $12.00/ ton vs. $26.00/ton for the Hamm ore..
            The Troy orebody is a tabular body, some 140’ thick          striking
                                                                         N-S and dipping -45°
            to the west. The talc is contained in a highly variable mixture of talc, chlorite,

            magnesite, hematite, limonite, serpenite minerals and quartz veins and the reserve
            has   been divided into four                        quality. The talc trend has been
                                                zones based on ore

             traced for some 2000’ of strike length of         which
                                                                 some 900’ of strike length (the
            ‘more     northerly segment)
                                       has been tested with 8drill holes on 5 sections, 50’- 150’
             apart. Given the 2000’     apparentstrike length and 1 50’ thickness, the zone taken
             to a depth of 1 00’ has yielded an “ore reserve" calculated by
                                                                                    Cyprus
                                                                                    at 3,030,000
             tons a number that needsmodification in respect to the quality and ‘nature of the
                  -




            talc as contained.


            Experience with Troy ores in the Johnson mill has indicated that much of it is. too
            low in talc or too low in       brightness
                                              for reasonable recoveries of 84 GEB brightness.
            product     be made. During 1991, a concerted effort took place to improve the
                        to

            quality of the Troy ores through selective mining. New: reserve estimates have
        |




            been be made using the percentage of each           ore zone estimated to be acceptable
        as mill feed.



            Recent work in the Troy talc         deposit has divided the ore reserve into 4 zones based
            on ore     quality.




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          Zone |            -


                                    Hanging wall ore high in talc content, but high in chlorite and
                                                            -




                                    Fe,0, discolorant; perhaps 50% of this zone can be used as
                                    mill feed.


         zone Il                    Ferric oxide stained zones; too discolored for mill feed; none of
                                    Zone II can be used for mill feed.


         Zone Ill           -



                                    Moderate talc content- 45%-50% with manageable discolorant
                                    in the 65% GEB range; perhaps 80% can be used in mill feed.


         Zone IV            -
                                    Footwall zone; reasonable talc content in           some   zones: high
                                   specular      hematite       removable through magnetic
                                                                  content

                                   separation; perhaps 50% of Zone Ill can be used as current mill
                                   feed.

         Applying the usable percentages to the ore reserve, as it is delineated by the drill
         holes, yields an indicated mineable, usable reserve of 470,000 tons at a w/o ratio
         of roughly 1.0 to 1; additional inferred reserves could be perhaps 3 times this
         number at an increased.waste/ore              ratio.


         An inspection of the           stockpiles     at
                                                                the. Troy, Mine identified 67, 000 tons of   .




         inventory; 59,000 tons are felt by mill staff to be unusable because. of lowtalc
         content; quartz; poor color; with 13,000 tons of fines that can be used only when
         dry. The 8,800 remaining tons of "good ore" is of borderline quality, as current
         recoveries on Troy ore are around




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           At best, the ores from selected ore zones sent to the Johnson mill                will average
           45%    -

                      50% talc and have a crude GEB of 68%, providing mill recoveries in the
             - 30% range.
           25%

           The Johnson mill needs          higher grade, higher brightness ore to produce competitive
            products, and is currently using the Hamm ore for 30% of its mill feed to the
           floatation process inspite of Hamm’s potential arsenic and fibre content problems.

           Troy ore has some strengths. It is             relatively
                                                      low in average arsenic content, about
           3 ppm, and contains ‘no visible fibrous minerals but Hamm ores (with fibre
                                                                                        and
           arsenic    problems) are needed to provide the talc recoveries and brightness needed
           to produce selected products.

           With its main source based in Troy ore, the Johnson mill is currently just getting by;
           a better, lower costmill feed than the Troy ore, or the costly distant Hamm ore is

           needed. More selective mining at Troy was tried in 1991. Ore bleaching has been
           proposed. Some exploration along the northern Vermont exploration belt has been
           carried out. The problem remains. There is    known nearby goodquality for
                                                                       no                         ore

           the Johnson Mill.


           ‘The Hamm Mine

           The data on the Hamm mine was              accumulated by several companies over a broad
           time period and was          recently summarized by CIM in a generalized computerized
       _
           reserve that we can’t         really accept as a reliable basis for an accurate ore estimate.

           Our review of the data         summary yielded a 3,060,000       ton   geologic reserve of talc
           ore   with       2,700,000 tons of waste within the planned pit, but it will require



                                                                 -


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           continued analysis
                                   of whatever fundamental base data we can get to properly
           evaluate the reserve.        .

                                            Our   mineable ore   reserve   calculation to date    yields
                                            to the 1600’ level at a 1:1 waste to ore ratio.
           1,950,000 tons of mineable reserves

           The Hamm mine has established problems with high arsenic zones and areas with

           fibrous. actinolite, but is mined for its relatively high talc content and ‘high
           brightness ores.

       _
           Figures generated by Cyprus suggest that Hamm contains 1,080,000 tons of ore
           with a +75%-GEB. Total +65% GEB reserves by the same survey indicate 2.5

           million tons in reserve.

           Of   1991's 104,000 tons of production, 18,000 tons             were   recorded   as directed
           toward the Johnson Mill.in northern Vermont and 38,000 tons were directed to
           West Windsor. Both of these wet mills had problems with Hamm’s high arsenic
           ores.   The balance of      104,000 tons    were directed to Chester for    dry milled high
           brightness industrial ores.

           Hammondsville Mine

           Hammondsville is a large but deep reserve mined underground in the          past. A    maze

           of   underground workings     recorded on the mine plan and various reserves from
                                            are

           4million tons to 7 million tons are on record. It is accepted, however, that the

           remaining reserve is too deep for open pit mining and current undergroundworking
           too expensive for any economic recovery.




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                                                                                    DRY GROUND BRIGHTNESS (Non-Floated)




                                                     Overall                  +75                T                                                    —65              [Mineable*         |




                                                               1% Mineable|             Tons
                                                                                                 |% Mineable|              Tons        [%       Mineable   |
                                                                                                                                                               Tons    {Totals (000)
                    HammA                                 20                  20                         .
                                                                                                             70                                       10                           600
                    Hamm     B
                                                          50                  40                             50               750|                    10         150)
           ||


                    Hamm
                    Totals
                           C                              30
                                                         100
                                                                                                             40|              360|                    20|                          900
                                                                                    |                                                                      |                     3,000


                    Rainbow A                             10                                                 70                   54                                  8}
                    Rainbow B                             50.             .
                                                                              40           153               50              192}                     10          38               383:
                    RainbowC                                                  50|          152}              40|                            -         10|         31|              305|
                |   Totals                                                                 320                    |
                                                                                                                                ||
                                                                                                                              368                          |                      765


                    ARGMOBA                               50                  10                             80              2000                     10         250             2500
            ARGMOBB                                       40|         -

                                                                              10          -200               80              1600                                200             2000
           |ARGMOBC                                       10                  10                             80                                       10          50|              500|
                    Totals       _
                                                                                           col                     |        4,000                                500             5,000


                    ARGEOBA                                                   10               30            80).             240
                    ARGEOB B                              60                  10}          180               70|             1260
                    ARGEOB C                                                                                 40|
                |

                                                          30                  10                                              360
       .



                [Totals                          [                                         soo|

                                                 |

                    BLBA                                                                    13                         .
                                                                                                                              104                     10          13               130
                                                          50                               180               50               325                     30         195               650
                    BLBC                                  40|                 30|          156|              50|              260]-
                |
                    Totals                               100                        |
                                                                                                                                       |                                     -




                                                                                                                                                                                 1,300


                    TROYA
                    TROYB
                                                          10
                                                          10
                                                                               0
                                                                               5
                                                                                                     -       80.              240                     20
                                                                                                                                                      15
                                                                                                                                                                  60
                                                                                               15            80               240                                 45               300
                    TROY                         |        80|                  5|          120|                              1440|                    35
                [Totals                                 _100                               135                              1,920                     _    [945]                 3,000


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                    In addition, a good portion of the existing mine has been de-stabilized with pillar
                    removal and economic re-entry to the mine is impractical. No one involved with the
                    ‘due diligence evaluation would accord         Hammondsville any   reserve value.




                    Ludlow Mines


                    The   Ludlow area talc mines extend southward from the Columbia Mill on a
                    meandering trend of the altered ultramafic belt. ‘The mines deposits are the
                    Rainbow, Black Bear, Argonaut, Frostbite, Clifton and Kelly. The Ludlow mines are
                    operated as a unitized project with development and mining moving from deposit
                    to deposit to generate budgeted tonnages of the        highest
                                                                               grade and brightest ores
                .



                    possible aimed principally atthe dry industrial product mills (141,000 tons at.
            .       Chester and Columbus) although small       tonnages
                                                                     of ore (5,500 tons) do go to West
                    Windsor and Johnson floatation production. Ludlow deposits vary as to content
                    of highbrightness  and talc content. Most have significant arsenic and fibre bearing
                    areas which must be excluded,
                                                      see chart on page 31. These mines carry high
                    royalties, the subject of a separate study.

                           Rainbow
                          The northwest       mine, Rainbow, is pursued because of its relatively high
                           brightness ore. About half (320,000 tons) of the estimated reserve of
                           765,000 tons is estimated at                 GEB.   The principal available current
                           resource of high brightness material, the Rainbow is currently removing
                           highwallwaste material in preparation for future                 obvious
                                                                                   reserve access at

                           high cost it -   be something special that the mills want.
                                            must




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                             TALC TREND                CYPRUS OPERATIONS
                                                              LUDLOW AREA
                          5, TALC DEPOSIT                     TALC
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               .
                   Black Bear
                   Black Bear contains an accessible 300,000 ton reserve of +                  75% GEB
                   material. Mining was carried out in 1991. Total reserves areestimated at
                   1,300,000 tons mineable, of which 300,000 are estimated to be +75%
                   GEB and 700,000 at +65% GEB. With most of its ‘ore directed for
                   Columbia and Chester, Black Bear provides a viable future reserve of high

               ‘brightness material for industrial products.

               Argonaut
                   Themost        important reserve      on the Ludlow trend is the   Argonaut where the
                   Argonaut Main        body open pit, a three million ton deposit of medium
                                         ore

                   (>65-75 GEB)         brightness
                                              reserve, has been supplanted by the development
                   of the Argonaut East ore body due to the high strippingratio
                                                                                            and possibly
                   high incidence of fibre bearing zones encountered at the mainore. body.

                   The Argonaut East ore         body offers a potential of 3 million to 5 million tons
                   of material that is in the inferred category. Of the eight drill holes directed
                   to it in 1988,only four can be used to estimate the reserve. They, with past
                   mapping in older         underground
                                                    workings, suggest a substantial mineable
                   tonnage here        averaging
                                             perhaps:       +75 GEB material. The deposit is
                   currently being developed with stripping and           mining
                                                                          of shallow ore. The
                   extension of the      Argonaut
                                              mining permit for         this
                                                                    work has been.protested by
                   a   nearby homeowner and supporters. The              development wouldbe:within:
               ‘view of the Okemo ski area, some 4 miles distant.


                   The Argonaut East ore body presents             good potential for a high tonnage of
                   medium to high brightness reserves of Ludlow type ore.




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         Alpine Alabama

         The Alpine deposit is a        small zone of talc quartzite whose saprolitewas   reserve

        ‘mined by open pit in the past. Current reserve is in hard rock. CIM ore reserve
         calculation shows‘a mineable reserve of 75,000 tons in a remaining              1 Q0’ depth    -




         80%   of this is +80 GEB # 1 ore. The waste to             ore ratio is calculated at   5:1.

         An   independent cross section manual         on reserve calculation   supports these reserve
         numbers.


         Alpine ore goes to Alpine Mill stockpiles where itis used to produce 3,600 tons of
         Regal, Act Il, Alphafil and YB products using # 1 ore, 33%; # 2 and # 3 ore (40-
         80% GEB) 33%, see Anderson’s chart page 36. Recovery is given at
                                                                                70%; so ore
         requirement then will be.        tons per year.



         Alpine was campaign mined.in 1991 (21,000 tons) and (by inspection) there is at
         least that tonnage (estimated at +30,000 tons) on the stockpile.


         The   next mine campaign is planned for 1996. However, pit is flooded and the
         future   accessibility of new ore is impossible to estimate.
         The   Alpine          perfect; it needs bleaching and has a high quartz content in
                          ore isn’t

         some
               areas. The Alpine mill has and could run without Alpine ore, whose main:
         value is its apparent lowcost (given at $30/ton).




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            ae               Brychan     “Geiffitns                      _.   February
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             Subject         Crude Required to Produce Finished Goods



                PRODUCT
                 AINE




               NOTE:          Crude blends should show origin,
                              Ex.: 20% BVHD. @ $125/T-                        percent value per
                                                                                        &              ton.



                               PLEASE FAX RESULTS TO YELLOWSTONE ON 2/17.
                                         Baker
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                               F.   F.   Beyl
                               M. J.     Lorang
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